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HIGHLIGHTS OF PRESCRIBING INFORMATION                                          . The treatment of adult patients with moderate to severe chronic plaque
                                                                                    psoriasis who are candidates for systemic therapy or phototherapy,
These highlights do not include all the information needed to use                   and when other systemic therapies are medically less appropriate.
HUM    IRA safely and effectively. See full prescribing information for
HUMIRA.                                                                                 -------DOSAGE AND ADMINISTRATION-------
HUM    IRA (adalimumab) Injection, Solution for Subcutaneous use               HUMlRA is administered by subcutaneous injection.
Initial U.S. Approval: 2002                                                    Rheumatoid Arthritis, Psoriatic Arthritis, Ankylosing Spondylitis (2.1)
                                                                               . 40 mg every other week. Some patients with RA not receiving
                                WARNINGS:                                           methotrexate may benefit from increasing the frequency to 40 mg
        See full prescribing information for complete boxed warning.                every week.
                                                                               Juvenile Idiopathic Arthritis (2.2)
                                                                               . i 5 kg (33 lbs) to ~3() kg (66 lbs): 20 mg every other week
SERIOUS INFECTIONS (5.1, 6.1)
                                                                               . 2:30 kg (66 Ibs): 40 mg every other week
      Increased risk of serious infections leading to hospitalization or       Crohn's Disease (2.3)
      death, including tuberculosis (TB), bacterial sepsis, invasive               Initial dose (Day i) is 160 mg (four 40 mg injections in one day or
      fungal infections (such as histoplasmosis), and infections due to            two 40 mg injections per day for two consecutive days), followed by
         other opportunistic pathogens.
                                                                                   80 mg two weeks later (Day 15). Two weeks later (Day 29) begin a
         HUMIRA should be discontinued if a patient develops a serious              maintenance dose of 40 mg every other week.
         infection or sepsis during treatment.                                 Plaque Psoriasis (2.4)
     Perform test for latent TB; if positive, start treatment for TB           . 80 mg initial dose, followed by 40 mg every other week starting one
     prior to starting HUMIRA.                                                      week after initial dose.
     Monitor all patients for active TB during treatment, even if initial
     latent TB test is negative.                                                         -------DOSAGE FORMS AND STRENGTHS------­
MALIGNANCY (5.2)                                                               . 40 mg/0.8 mL in a single-use prefilled pen (HUM     IRA Pen) (3)
         Lymphoma and other malignancies, some fatal, have been                . 40 mg/0.8 mL in a single-use prefilled glass syrnge (3)
         reported in children and adolescent patients treated with TNF              20 mg/OA mL in a single-use prefilled glass syringe (3)
         blockers, of which HUMIRA is a member.
         Post-marketing cases of hepatosplenic T-cell lymphoma                                    -------CONTRAIND ICA TIONS------­
         (HSTCL), a rare type ofT-ceil     lymphoma, have occurred in          . None (4)
         adolescent and young adults with inflammatory bowel disease                        -------WARNINGS AND PRECAUTIONS ------­
         treated with TNF blockers including HUMIRA.                           . Serious infections - Do not start HUlRA during an active infection.
                                                                                     If an infection develops, monitor carefully, and stop HUMlRA if
               -------RECENT MAJOR CHANGES------­                                    infection becomes serious (5.1)
Boxed Wal1ing 9/201 I                                                          . Invasive fungal infections - For patients who develop a systemic
Dosage and Administration, Crohn's Disease (2.3) 3/2011                              illness on HUM  IRA, consider empiric antifungal therapy for those
Dosage and Administration, Monitoring to Assess Safety (2.5) 3/201 I                 who reside or travel to regions where mycoses are endemic (5. i)
Waiiings and Precautions, Serious Infections (5.1) 9/201 I
                                                                                     Malignancies - The incidence of malignancies was greater in
Waiiings and Precautions, Malignancies (5.2) 3/201 I
                                                                                     HUM   IRA-treated patients than in controls (5.2)
Waiiings and Precautions, Neurologic Reactions (5.5) MMNYYY
                                                                                     Anaphylaxis or serious allergic reactions may occur (5.3)
Wamings and Precautions, Use with Abatacept (5. I I) 3/201 I
                                                                                     Hepatitis B virus reactivation - monitor HBV carriers during and'
                 -----.-INDICA TIONS AND USAGE------­                                several months after therapy. Ifreactivation occurs, stop HUMIRA
HUMIRA is a tumor necrosis factor (TN F) blocker indicated for treatment             and begin anti-viral therapy (SA)
of:                                                                            . Demyelinating disease exacerbation or new onset, may occur (5.5)
Rheumatoid Arthritis (RA) (1.1)                                                . Cytopenias, pancytopenia - advise patients to seek immediate medical
. Reducing signs and symptoms, inducing major clinical response,                     attention if symptoms develop, and consider stopping HUMlRA (5.6)
      inhibiting the progression of structural damage, and improving           . Heart failure, worsening or new onset, may occur (5.8)
      physical function in adult patients with moderately to severely active   . Lupus-like syndrome - stop HUMlRA if syndrome develops (5.9)
      RA.
Juvenile Idiopathic Arthritis(JIA) (1,2)                                                           -------ADVERSE REACTIONS------­
. Reducing signs and symptoms of         moderately to severely active         Most common adverse reactions (incidence:; 10%): infections (e.g. upper
      polyarticular JIA in pediatiic patients 4 years of age and older.        respiratory, sinusitis), injection site reactions, headache and rash (6. i)
Psoriatic Arthritis (PsA) (1.3)                                                To report SUSPECTED ADVERSE REACTIONS, contact Abbott
. Reducing signs and symptoms, inhibiting the progression of structural
                                                                               Laboratories at 1-800-633-9110 or FDA at 1-800-FDA-I088 or
      damage, and improving physical function in adult patients with active    www.fda.gov/medwatch
      PsA.                                                                                         -------DRUG INTERACTIONS------­
Ankylosing Spondylitis (AS) (1.4)                                              . Abatacept - increased risk of serious infection (5. i, 5. i i, 7.2)
. Reducing signs and symptoms in adult patients with active AS.
                                                                               . Anakinra - increased risk of serious infection (5.1, 5.7, 7.2)
Crohn's Disease (CD) (1.5)                                                     . Live vaccines - should not be given with HUMlRA (5.10, 7.3)
. Reducing signs and symptoms and inducing and maintaining clinical                                                                                             I

      remission in adult patients with moderately to severely active Crohn's                -------USE IN SPECIFIC POPULATIONS------­                           i
      disease who have had an inadequate response to conventional therapy.     . Pregnancy: Physicians are encouraged to enroll pregnant patients in
      Reducing signs and symptoms and inducing clinical remission in these           the HUMlRA pregnancy       registr by calling 1-877-311-8972 (8.1)         I

      patients if they have also lost response to or are intolerant to
      inflixiinab.
Plaque Psoriasis (ps) (1.6)                                                    See 17 for PATIENT COUNSELING INFORMATION and Medication
                                                                               Guide
                                                                                                                                             Revised: 1212011




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 FULL PRESCRIBING INFORMATION

 WARNINGS: SERIOUS INFECTIONS AND MALIGNANCY

 SERIOUS INFECTIONS

 Patients treated with HUMIRA are at increased risk for developing serious infections that may lead to
 hospitalization or death ¡see Warnings and Precautions (5.1)J. Most patients who developed these
 infections were taking concomitant immunosuppressants such as methotrexate or corticosteroids.

 HUMIRA should be discontinued if a patient develops a serious infection or sepsis.

 Reported infections include:
 · Active tuberculosis (TB), including reactivation of latent TB. Patients with TB have frequently
 presented with disseminated or extrapulmonary disease. Patients should be tested for latent TB before
 HUMIRA use and during therapy. Treatment for latent TB should be initiated prior to HUMIRA use.
 · Invasive fungal infections, including histoplasmosis, coccidioidomycosis, candidiasis, aspergilosis,
 blastomycosis, and pneumocystosis. Patients with histoplasmosis or other invasive fungal infections may
 present with disseminated, rather than localized, disease. Antigen and antibody testing for histoplasmosis
   may be negative in some patients with active infection. Empiric anti-fungal therapy should be considered
. in patients at risk for invasive fungal infections who develop severe systemic ilness.
 · Bacterial, viral and other infections due to opportunistic pathogens, including Legionella and Listeria.

 The risks and benefits of treatment with HUMIRA should be carefully considered prior to initiating
 therapy in patients with chronic or recurrent infection.

 Patients should be closely monitored for the development of signs and symptoms of infection during and
 after treatment with HUMIRA, including the possible development of TB in patients who tested negative
 for latent TB infection prior to initiating therapy.                              ¡See Warnings and Precautions (5.1) and Adverse
 Reactions (6.1)J

 MALIGNANCY

 Lymphoma and other malignancies, some fatal, have been reported in children and                                    adolescent patients

 treated with TNF blockers, of                      which HUMIRA is a member.                ¡See Warnings and Precautions (5.2)J Post-
 marketing cases of hepatosplenic T-cell lymphoma (HSTCL), a rare type of T-cell lymphoma, have been
 reported in pat.ients treated with TNF blockers including HUMIRA. These cases have had a very
 aggressive disease course and have been fataL. The majority of reported TNF blocker cases has occurred
 in patients with Crohn's disease or ulcerative colitis and the majority were in adolescent and young adult
 males. Almost all these patients had received treatment with azathioprine or 6-mercaptopurine
 concomitantly with a TNF blocker at or prior to diagnosis. It is uncertain whether the occurrence of
 HSTCL is related to use of a TNF blocker or a TNF blocker in combination with these other
                                                                       .
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I immunosuppressants.

1 INDICATIONS AND USAGE

1.1 Rheumatoid Arthritis
HUMIR is indicated for reducing signs and symptoms, inducing major clinical response, inhibiting the
progression of structural damage, and improving physical function in adult patients with moderately to
severely active rheumatoid arthritis. HUIR can be used alone or in combination with methotrexate or other
non-biologic disease-modifying anti-rheumatic drugs (DMARs).

1.2 Juvenile Idiopathic Arthritis
HUMIR is indicated for reducing signs and symptoms of         moderately to severely active polyarticular juvenile
idiopathic arthritis in pediatric patients 4 years of age and older. HUMIR can be used alone or in
combination with methotrexate.

1.3 Psoriatic Arthritis
HUMIRAis indicated for reducing signs and symptoms, inhibiting the progression of structural damage, and
improving physical function in adult patients with active psoriatic arthritis. HUIR can be used alone or in
combination with non-biologic DMARs.

1.4 Ankylosing Spondylitis

HUMIR is indicated for reducing signs and symptoms in adult patients with active anylosing spondylitis.

1.5 Crohn's Disease

HUM      IRA is indicated for reducing signs and symptoms and inducing and maintaining clinical remission in
adult patients with moderately to severely active Crohn's disease who have had an inadequate response to
conventional therapy. HUMIR is indicated for reducing signs and symptoms and inducing clinical remission
in these patients if  they have also lost response to or are intolerant to infliximab.

1.6 Plaque Psoriasis

HUMIR is indicated for the treatment of adult patients with moderate to severe chronic      plaque psoriasis who
are candidates for systemic therapy or phototherapy, and when other systemic therapies are medically less
appropriate. HUMIRA should only be administered to patients who will be closely monitored and have
regular follow-up visits with a physician (see Boxed Warnings and Warnings and Precautions (5)).

2 DOSAGE AND ADMINISTRATION

HUMIRA is administered by subcutaneous injection.
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2.1 Rheumatoid Arthritis, Psoriatic Arthritis, and Ankylosing Spondylitis

The recommended dose of                    HUM      IRA for adult patients with rheumatoid arthrtis (RA), psoriatic arthrtis
(PsA), or ankylosing spondylitis (AS) is 40 mg administered every other week. Methotrexate (MTX), other
non-biologic DMARS, glucocorticoids, nonsteroidal anti-inflammatory drugs (NSAIDs), and/or analgesics
may be continued during treatment with HUIRA. In the treatment ofRA, some patients not taking
concomitant MTX may derive additional benefit from increasing the dosing frequency of                               HUM    IR to 40 mg
every week.

2.2 Juvenile Idiopathic Arthritis

The recommended dose of             IRA for pediatric patients 4 to 17 years of age with polyarticular juvenile
                                           HUM


idiopathic arthritis (lIA) is based on weight as shown below. MTX, glucocorticoids, NSAIDs, and/or
analgesics may be continued during treatment with HUMIR.


                             Pediatric Patients                                                              Dose
                                (4 to 17 years)
                    15 kg (33lbs) to ~30 kg (66lbs)                                             20 mg every other week
                                                                                                         filled Syringe)
                                                                                                (20 mg Pre

                               2:30 kg (66 lbs)                                               40 ilg every other week
                                                                                        (HUMlRA Pen or 40 ilg Prefilled Syringe)

Limited data are available for HUMIR treatment in pediatric patients with a weight below 15 kg.

2.3 Crohn's Disease

The recommended HUMIRA dose regimen for adult patients with Crohn's disease is 160 mg initially on Day
1 (given as four 40 mg injections in one day or as two 40 mg injections per day for two consecutive days),
followed by 80 mg two weeks later (Day 15). Two weeks later (Day 29) begin a maintenance dose of 40 mg
every other week. Aminosalicylates and/or corticosteroids may be continued during treatment with HUIR.
Azathioprine, 6-mercaptopurine (6-MP) (see Warnings and Precautions (5.2)J or MTX may be continued
during treatment with HUMIR if      necessary. The use of HUM  IR in Crohn's disease beyond one year has
not been evaluated in controlled clinical studies.

2.4 Plaque Psoriasis

The recommended dose of HUMIRA for adult patients with plaque psoriasis is an initial dose of 80 mg,
followed by 40 mg given every other week starting one week after the initial dose. The use ofHUIR in
moderate to severe chronic plaque psoriasis beyond one year has not been evaluated in controlled clinical
studies.

2.5 Monitoring to Assess Safety

Prior to initiating HUMIRA and periodically during therapy, patients should be evaluated for active
tuberculosis and tested for latent infection (see Warnings and Precautions (5.1)).
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2.6 General Considerations for Administration
HUMIRA is intended for use under the guidance and supervision of a physician. A patient may self-inject
HUMIR if a physician determines that it is appropriate, and with medical follow-up, as necessary, after
proper training in subcutaneous injection technique.

The solution in the HUIRA Pen or prefilledsyringe should be carefully inspected visually for particulate
matter and discoloration prior to subcutaneous administration. If particulates and discolorations are noted, the
product should not be used. HUMIRA does not contain preservatives; therefore, unused portions of drug
remaining from the syringe should be discarded. NOTE: The needle cover of the syringe contains dry rubber
(latex), which should not be handled by persons sensitive to this substance.

Patients using theHUMIRA Pen or prefilled syrnge should be instructed to inject the full amount in the
syringe (0.8 mL), which provides 40 mg of    HUM   IRA, according to the directions provided in the Patient
Instructions for Use (see Patient Instructions for Use).

Patients (15 kg to -c30 kg) using the pediatric pre-filled syringe, or their caregivers, should be instructed to
inject the full amount in the syrnge (0.4 mL), which provides 20 mg of                     HUM   IR, according to the directions

provided in the Patient Instructions for Use.

Injection sites should be rotated and injections should never be given into areas where the skin is tender,
bruised, red or hard.


3 DOSAGE FORMS AND STRENGTHS

. Pen

A single-use pen (HUMIRA Pen), containing a 1 mL pre                        filled glass syringe with a fixed 27 gauge Yi inch
needle, providing 40 mg (0.8 mL) of                        HUM       IRA.

. Prefiled Syringe


A single-use, 1 mL prefilled glass syringe with a fixed 27 gauge Yi inch needle, providing 40 mg (0.8 mL) of
HUM      IRA.

A single-use, 1 mL prefilled glass syringe with a fixed 27 gauge Yi inch needle, providing 20 mg (0.4 mL) of
HUMIR.

4 CONTRAINDICATIONS

None.

5 WARNINGS AND PRECAUTIONS

(see also Boxed WARNINGS)
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5.1 Serious Infections

Patients treated with HUMIR are at increased risk for developing serious infections involving various organ
systems and sites that may lead to hospitalization or death. Opportunistic infections due to bacterial,
mycobacterial, invasive fungal, viral, parasitic, or other opportunistic pathogens including aspergilosis,
blastomycosis, candidiasis, coccidioidomycosis, histoplasmosis, legionellosis, listeriosis, pneumocystosis and
tuberculosis have been reported with TNF blockers. Patients have frequently presented with disseminated
rather than localized disease.


The concomitant use of a TNF blocker and abatacept or anakinra was associated with a higher risk of serious
infections in patients with rheumatoid arthritis (RA); therefore, the concomitant use ofHUIR and these
biologic products is not recommended in the treatment of  patients with RA (see Warnings and Precautions
(5.7,5.11) and Drug Interactions (7.2)).

Treatment with HUM                 IRA should not be initiated inpatients with an active infection, including localized
infections. Patients greater than 65 years of age, patients with co-morbid conditions and/or patients taking
concomitant immunosuppressants (such as corticosteroids or methotrexate), may be at greater risk of
infection. The risks and benefits of           treatment should be considered prior to initiating therapy in patients:

. with chronic or recurrent infection;

. who have been exposed to tuberculosis;

. with .a history of an opportunistic infection;


. who have resided or traveled in areas of endemic tuberculosis or endemic mycoses, such as
   histoplasmosis, coccidioidomycosis, or blastomycosis; or

. with underlying conditions that may predispose them to infection.


Tuberculosis

Cases of                tuberculosis or new tuberculosis infections have been observed in patients receiving
              reactivation of


HUMIR, including patients who have previously received treatment for latent or active tuberculosis. Patients
should be evaluated for tuberculosis risk factors and tested for latent infection prior to initiating HUMIR and
periodically during therapy.


Treatment of latent tuberculosis infection prior to therapy with TNF blocking agents has been shown to reduce
the risk of      tuberculosis reactivation during therapy. Induration of 5 mm or greater with tuberculin skin testing
should be considered a positive test result when assessing if       treatment for latent tuberculosis is needed prior to
initiating HUIR, even for patients previously vaccinated with Bacile Calmette-Guerin (BCG).


Anti-tuberculosis therapy should also be considered prior to initiation of        HUM   IR in patients with a past
history oflatent or active tuberculosis in whom an adequate course of          treatment cannot be confirmed, and for
patients with a negative test for latent tuberculosis but having risk factors for tuberculosis infection.
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Consultation with a physician with expertise in the treatment of            tuberculosis is recommended to aid in the
decision whether initiating anti-tuberculosis therapy is appropriate for an individual patient.

Tuberculosis should be strongly considered in patients who develop a new infection during HUIRA
treatment, especially in patients who have previously or recently traveled to countries with a high prevalence
of tuberculosis, or who have had close contact with a person with active tuberculosis.

Monitoring

Patients should be closely monitored for the development of signs and symptoms of infection during and after
treatment with HUMIRA, including the development of tuberculosis in patients who tested negative for latent
tuberculosis infection prior to initiating therapy. Tests for latent tuberculosis infection may also be falsely
negative while on therapy with HUMIRA.

HUMIR should be discontinued if a patient develops a serious infection or sepsis. A patient who develops a
new infection during treatment with HUMIR should be closely monitored, undergo a prompt and complete
diagnostic workup appropriate for an immunocompromised patient,' and appropriate antimicrobial therapy
should be initiated.

Invasive Fungal Infections

For patients who reside or travel in regions where mycoses are endemic, invasive fungal infection should be
suspected if they develop a serious systemic ilness. Appropriate empiric antifungal therapy should be
considered while a diagnostic workup is being performed. Antigen and antibody testing for histoplasmosis
may be negative in some patients with active infection. When feasible, the decision to administer empiric
antifungal therapy in these patients should be made in consultation with a physician with expertise in the
diagnosis and treatment of invasive fungal infections and should take into account both the risk for severe                            i.

fungal infection and the risks of antifungal therapy.

5.2 Malignancies

The risks and benefits ofTNF-blocker treatment including HUMIR should be considered prior to initiating
therapy in patients with a known malignancy other than a successfully treated non-melanoma skin cancer
(NSC) or when considering continuing a TNF blocker in patients who develop a malignancy.

Malignancies in Adults

In the controlled portions of clinical trials of some TNF-blockers, including HUMIR, more cases of
malignancies have been observed among TNF-blocker-treated adult patients compared to control-treated adult
patients. During the controlled portions of 32 global HUM                      IRA clinical trials in adult patients with rheumatoid
arthritis (RA), psoriatic arthritis (PsA), ankylosing spondylitis (AS), Crohn's disease (CD), and plaque
psoriasis (Ps), malignancies, other than non-melanoma (basal cell and squamous cell) skin cancer, were
observed at a rate (95% confidence interval) of                     0.6 (0.38, 0.93) per 100 patient-years among 6694 HUMIR-
treated patients versus a rate of                  0.5 (0.28, 1.05) per 100 patient-years among 3749 control-treated patients
(median duration of
                                 treatment of 4 months for HUM           IR-treated patients and 4 months for control-treated
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patients). In 45 global controlled and uncontrolled clinical trials of   IRA in adult patients with RA, PsA,
                                                                                  HUM


AS, CD and Ps, the most frequently observed malignancies, other than lymphoma and NMSC, were breast,
colon, prostate, lung, and melanoma. The malignancies in HUMIRA-treated patients in the controlled and
uncontrolled portions of the studies were similar in type and number to what would be expected in the general
U.S. population according to the SEER database (adjusted for age, gender, and race).!

 In controlled trials of other TNF blockers in adult patients at higher risk for malignancies (i.e., patients with
 COPD with a significant smoking history and cyclophosphamide-treated patients with Wegener's
 granulomatosis), a greater portion of malignancies occurred in the TNF blocker group compared to the control
 group.

Non-Melanoma Skin Cancer

During the controlled portions of 32 global HUMIRA clinical trials in adult patients with RA, PsA, AS, CD,
and Ps, the rate (95% confidence interval) ofNMSC was 0.7 (0.50, 1.11) per 100 patient-years among
HUMIR-treated patients and 0.2 (0.06, 0.56) per 100 patient-years among control-treated patients. All
patients, and in particular patients with a medical history of prior prolonged immunosuppressant therapy or
psoriasis patients with a history ofPUV A treatment should be examined for the presence ofNMSC prior to
and during treatment with HUMIR.

Lymphoma and Leukemia

In the controlled portions of clinical trials of all the TNF -blockers in adults, more cases of lymphoma have
been observed among TNF blocker-treated patients compared to control-treated patients. In the controlled
portions of 32 global HUMIR clinical trials in adult patients with RA, PsA, AS, CD, and Ps, 3 lymphomas
 occurred among 6694 HUMIR-treated patients versus 1 among 3749 control-treated                  patients. In 45 global
 controlled and uncontrolled clinical trials ofHUIR in adult patients with RA, PsA, AS, CD and Ps with a
 median duration of approximately 0.6 years, including 22,026 patients and over 32,000 patient-years of
 HUMIR, the observed rate of lymphomas was approximately 0.11 per 100 patient-years. This is
 approximately 3-fold higher than expected in the general U.S. population according to the SEER database
 (adjusted for age, gender, and race). i Rates oflymphoma in clinical trials of
                                                                                        HUM   IRA cannot be compared to
rates of lymphoma in clinical trials of other TNF blockers and may not predict the rates observed in a broader
patient population. Patients with RA and other chronic inflammatory diseases, particularly those with highly
active disease and/or chronic exposure to immunosuppressant therapies, may be at a higher risk (up to several
fold) than the general population for the development of  lymphoma, even in the absence ofTNF blockers.
Post-marketing cases of acute and chronic leukemia have been reported in association with TNF-blocker use
in RA and other indications. Even in the absence ofTNF-blocker therapy, patients with RA may be at a higher
risk (approximately 2- fold) than the general population for the development of leukemia.

. 'Malignancies in Pediatric Patients and Young Adults

 Malignancies, some fatal, have been reported among children, adolescents, and young adults who received
 treatment with TNF -blockers (initiation of therapy :s 18 years of age), of which HUIRA is a member.
 Approximately half the cases were lymphomas, including Hodgkin's and non-Hodgkin's lymphoma. The other.
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cases represented a variety of different malignancies and included rare malignancies usually associated with
immunosuppression and malignancies that are not usually observed in children and adolescents. The
malignancies occurred after a median of30 months of                                 therapy (range 1 to 84 months). Most of        the patients
werereceiving concomitant immunosuppressants. These cases were reported post-marketing and are derived
from a variety of sources including registries and spontaneous postmarketing reports.

Postmarketing cases ofhepatosplenic T-cell lymphoma (HSTCL), a rare type ofT-cell lymphoma, have been
reported in patients treated with TNF blockers including HUIR. These cases have had a very aggressive
disease course and have been fataL. The majority of  reported TNF blocker cases has occurred in patients with
Crohn's diseaseor ulcerative colitis and the majority were in adolescent and young adult males. Almost all of
these patients had received treatment with the immunosuppressants azathioprine or 6-mercaptopurine
concomitantly with a TNF blocker at or prior to diagnosis. It is uncertain whether the occurrence ofHSTCL is
related to use of a TNF blocker or a TNF blocker in combination with these other immunosuppressants.

5.3 Hypersensitivity Reactions

In postmarketing experience, anaphylaxis and angioneurotic edema have been reported rarely following
HUMIR administration. If an anaphylactic or other serious allergic reaction occurs, administration of
HUMIR should be discontinued immediately and appropriate therapy instituted. In clinical trials of
HUMIR in adults, allergic reactions overall (e.g., allergic rash, anaphylactoid reaction, fixed drug reaction,
non-specified drug reaction, urticaria) have been observed in approximately 1 % of  patients.

5.4 Hepatitis B Virus Reactivation

Use ofTNF blockers, including HUMIRA, may increase the risk of                                                        hepatitis B virus (HBV) in
                                                                                                         reactivation of


patients who are chronic carrers of                       this virus. In some instances, HBV reactivation occurring in conjunction
with TNF blocker therapy has been fataL. The majority of                                     these reports have occurred in patients
concomitantly receiving other medications that suppress the immune system, which may also contribute to
HBV reactivation. Patients at risk for HBV infection should be evaluated for prior evidence ofHBV infection
before initiating TNF blocker therapy. Prescribers should exercise caution in prescribing TNF blockers for
patients identified as carriers ofHBV. Adequate data are not available on the safety or effcacy of                                    treating
patients who are carriers ofHBV with anti-viral therapy in conjunction with TNF blocke.r therapy to prevent
HBV reactivation. Patients who are carriers ofHBV and require treatment with TNF blockers should be
closely monitored for clinical and laboratory signs of active HBV infection throughout therapy and for several
months following termination of    therapy. In patients who develop HBV reactivation, HUMIRA should be
stopped and effective anti-viral therapy with appropriate supportive treatment should be initiated. The safety
of  resuming TNF blocker therapy after HBV reactivation is controlled is not known. Therefore, prescribers
should exercise caution when considering resumption ofHUIR therapy in this situation and monitor
patients closely.

5.5 Neurologic Reactions

Use ofTNF blocking agents, including HUIR, has been associated with rare cases of                                             new onset or
exacerbation of clinical symptoms and/or radiographic evidence of central nervous system demyelinating
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disease, including multiple sclerosis (MS) and optic neuritis, and peripheral demyelinating disease, including
Guilain-Barré syndrome. Prescribers should exercise caution in considering the use of                             HUM   IR in patients
with preexisting or recent-onset central or peripheral nervous system demyelinating disorders.

5.6 Hematological Reactions

Rare reports of pancytopenia including aplastic anemia have been reported with TNF blocking agents.
Adverse reactions of              the hematologic system, including medically significant cytopenia (e.g.,
thrombocytopenia, leukopenia) have been infrequently reported with HUMIRA. The causal relationship of
these reports to HUMIRA remains unclear. All patients shoul~ be advised to seek immediate medical attention
if they develop signs and symptoms suggestive of              blood dyscrasias or infection (e.g., persistent fever,
bruising, bleeding, pallor) while on HUMIRA' Discontinuation ofHUIR therapy should be considered in
patients with confirmed significant hematologic abnormalities.

5.7 Use with Anakinra

Concurrent use of anakinra (an interleukin-1 antagonist) and another TNF-blocker, was associated with a
greater proportion of serious infections and neutropenia and no added benefit compared with the TNF-blocker
alone in patients with RA' Therefore, the combination of HUMIR and anakinra is not recommended (see
Drug Interactions (7.2)).

5.8 Heart Failure
Cases of      worsening congestive heart failure (CHF) and new onset CHF have been reported  with TNF
blockers. Cases of  worsening CHF have also been observed with HUMIRA. HUMIR has not been formally
studied in patients with CHF; however, in clinical trials of another TNF blocker, a higher rate of serious CHF-
related adverse reactions was observed. Physicians should exercise caution when using HUMIR in patients
who have heart failure and monitor them carefully.

5.9 Autoimmunity
Treatment with HUMIRA may result in the formation of autoantibodies and, rarely, in the development of a
lupus-like syndrome. If a patient develops symptoms suggestive of a lupus-like syndrome following treatment
with HUMIR, treatment should be discontinued (see Adverse                                     Reactions (6.1)).

5.10 Immunizations

In a placebo-controlled clinical trial of                     patients with rheumatoid arthritis, no difference was detected in anti-
pneumococcal antibody response between                            HUM   IRA and placebo treatment groups when the pneumococcal
polysaccharide vaccine and influenza vaccine were administered concurrently with HUIRA' Similar
proportions of patients developed protective levels of anti-influenza antibodies between HUMIRA and
placebo treatment groups; however, titers in aggregate to influenza antigens were moderately lower in patients
receiving HUMIR. The clinical significance ofthis is unkown. Patients on HUMIR may receive
concurrent vaccinations, except for live vaccines. No data are available on the secondary transmission of
infection by live vaccines in patients receiving HUMIR.
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It is recommended that juvenile idiopathic arthrtis patients, if possible, be brought up to date with all
immunizations in agreement with current immunization guidelines prior to initiating HUIR therapy.
Patients on HUMIR may receive concurrent vaccinations, except for live vaccines.

5.11 Use with Abatacept

In controlled trials, the concurrent administration of TNF -blockers and abatacept was associated with a greater
proportion of serious infections than the use of a TNF-blocker alone; the combination therapy, compared to
the use of a TNF-blocker alone, has not demonstrated improved clinical benefit in the treatment ofRA.
Therefore, the combination of abatacept with TNF-blockers including HUMIR is not recommended (see
Drug Interactions (7.2)).

6 ADVERSE REACTIONS

6.1 Clinical Studies Experience

The most serious adverse reactions were:

. Serious Infections (see Warnings and Precautions (5.1)J

. Malignancies (see Warnings and Precautions (5.2)J


The most common adverse reaction with HUM                                  IRA was injection site reactions. In placebo-controlled trials,
20% of      patients treated with HUIR developed injection site reactions (erythema                                    and/or itching,
hemorrhage, pain or swelling), compared to 14% of                                     patients receiving placebo. Most injection site reactions
were described as mild and generally did not necessitate drug discontinuation.

The proportion of patients who discontinued treatment due to adverse reactions duririg the double-blind,
placebo-controlled portion of Studies RA~I, RA-II, RA-III and RA-IV was 7% for patients taking HUMIR
and 4% for placebo-treated patients. The most common adverse reactions leading to discpntinuation of
HUM   IRA were clinical flare reaction (0.7%), rash (0.3%) and pneumonia (0.3%).

Because clinical trials are conducted under widely varying and controlled conditions, adverse reaction rates
observed in clinical trials of a drug cannot be directly compared to rates in the clinical trials of another drug
and may not predictthe rates observed in a broader patient population in clinical practice.

Infèctions
                       ,

In the controlled portions of                 the 32 global HUM             IRA clinical trials in adult patients with RA, PsA, AS, CD and
Ps, the rate of serious infections was 4.7 per 100 patient-years in 6694 HUMIR-treated patients versus a rate
of2.7 per 100 patient-years in 3749 control-treated patients. Serious infections observed included pneumonia,
septic arthritis, prosthetic and post-surgical infections, erysipelas, cellulitis, diverticulitis, and pyelonephritis
(see Warnings and Precautions (5.1)).

Tuberculosis and Opportunistic Infections
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In 45 global controlled and uncontrolled clinical trials in RA, PsA, AS, CD and Ps that included 22,026
HUMIRA-treated patients, the rate of                         reported active tuberculosis was 0.22 per100 patient-years and the rate
of  positive PPD conversion was 0.07 per 100 patient-years. In a subgroup of8940 U.S. and Canadian
HUMIRA-treated patients, the rate of                         reported active TB was 0.07 per 100 patient-years and the rate of
positive PPD conversion was 0.06 per 100 patient-years. These trials included reports of                       miliary, lymphatic,
peritoneal, and pulmonary TB. Most of                          the TB cases occurred within the first eight months after initiation of
therapy and may reflect recrudescence of latent disease. In these global clinical trials, cases of serious
opportunistic infections have been reported at an overall rate of 0.07 per 100 patient-years. Some cases of
serious opportunistic infections and TB have been fatal (see Warnings and Precautions (5.1)).

Autoantibodies

In the rheumatoid arthritis controlled trials, 12% of                              patients treated with HUMIR and 7% of     placebo-treated
patients that had negative baseline ANA titers developed positive titers at week 24. Two patients out of 3046
treated with HUMIR developed clinical signs suggestive of                       new-onset lupus-like syndrome. The patients
improved following discontinuation of                     therapy. No patients developed lupus nephritis or central nervous
system symptoms. The impact of long-term treatment with HUMIR on the development of autoimmune
diseases is unknown.

Liver Enzyme Elevations

There have been reports of severe hepatic reactions including acute liver failure in patients receiving TNF­
blockers. In controlled Phase 3 trials of HU  IR (40 mg SC every other week) in patients with RA, PsA, and
AS with control period duration ranging from 4 to 104 weeks, ALT elevations 2: 3 x ULN occurred in 3.5% of
HUMIR-treated patients and 1.5% of control-treated patients. Since many of  these patients in these trials
were also taking medications that cause liver enzyme elevations (e.g., NSAIDS, MTX), the relationship
between HUMIRA and the liver enzyme elevations is not clear. In controlled Phase 3 trials of                                  HUM   IR
(initial doses of 160 mg and 80 mg, or 80 mg and 40 mg on Days 1 and 15, respectively, followed by 40 mg
every other week) in patients with Crohn's disease with control period duration ranging from 4 to 52 weeks,
ALT elevations 2: 3 x ULN occurred in 0.9% of                                HUM       IR-treated patients and 0.9% of control-treated

patients. In controlled Phase 3 trials of     IR (initial dose of 80 mg then 40 mg every other week) in
                                                              HUM


patients with plaque psoriasis with control period duration ranging from 12 to 24 weeks, ALT elevations 2: 3 x
ULN occurred in 1.8% of                     HUM    IRA-treated patients and 1.8% of control-treated patients.

Immunogenicity

Patients in Studies RA-I, RA-II, and RA-III were tested at multiple time points for antibodies to adalimumab
during the 6- to 12-month period. Approximately 5% (58 of 1062) of adult rheumatoid arthrtis patients
receiving HUIR developed low-titer antibodies to adalimumab at least once during treatment, which were
neutralizing in vitro. Patients treated with concomitant methotrexate had a lower rate of antibody development
than patients on HUMIRA monotherapy (1 % versus 12%). No apparent correlation of        antibody development
to adverse reactions was observed. With monotherapy, patients receiving every other week dosing may
develop antibodies more frequently than those receiving weekly dosing. In patients receiving the
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recommended dosage of 40 mg every other week as monotherapy, the ACR 20 response was lower among
antibody-positive patients than among antibody-negative patients. The long-term immunogenicity of
HUM   IRA is unknown.

In patients with        juvenile idiopathic arthritis, adalimumab antibodies were identified in 16% of                                HUM   IR-
treated patients. In patients receiving concomitant methotrexate, the incidence was 6% compared to 26% with
HUMIRA mono       therapy.

In patients with ankylosingspondylitis, the rate of development of antibodies to adalimumab in HUMIR-
treated patients was comparable to patients with rheumatoid arthritis. In patients with psoriatic arthritis, the
rate of antibody development in patients receiving HUIR monotherapy was comparable to patients with
rheumatoid arthritis; however, in patients receiving concomitant methotrexate the rate was 7% compared to
1 % in rheumatoid arthrtis. In patients with Crohn's disease, the rate of antibody development was 3%. In
patients with plaque psoriasis, the rate of antibody development with HUMIR monotherapy was 8%.
However, due to the limitation of the assay conditions, antibodies to adalimumab could be detected only when
serum adalimumab levels were ~ 2 ug/ml. Among the patients whose serum adalimumab levels were ~ 2
ug/ml (approximately 40% of    total patients studied), the immunogenicity rate was 20.7%,. In plaque psoriasis
patients who were on HUMIR monotherapy and subsequently withdrawn from the treatment, the rate of
antibodies to adalimumab after retreatment was similar to the rate observed prior to withdrawaL.

The data reflect the percentage of patients whose test results were considered positive for antibodies to
adalimumab in an ELISA assay, and are highly dependent on the sensitivity and specificity of
                                                                                                 the assay. The
observed incidence of antibody (including neutralizing antibody)                                         positivity in an assay is highly dependent on
several factors including assay sensitivity and specificity, assay methodology, sample handling, timing of
sample collection, concomitant medications, and underlying disease. For these reasons, comparison of
                                                                                                       the
incidence of antibodies to adalimumab with the incidence of antibodies to other products may be misleading.

Other Adverse Reactions

The data described below reflect exposure to HUIR in 2468 patients, including 2073 exposed for 6
months, 1497 exposed for greater than one year and 1380 in adequate and well-controlled studies (Studies
RA-I, RA-II, RA-III, and RA-IV). HUMIR was studied primarily in placebo-controlled trials and in long-
term follow up studies for up to 36 months duration. The population had a mean age of 54 years, 77% were
female, 91 % were Caucasian and had moderately to severely active rheumatoid arthrtis. Most patients
received 40 mg HUIRA every other week.

Table 1 summarizes reactions reported at a rate of at least 5% in patients                                       treated with HUIRA 40 mg every
 other week compared to placebo and with an incidence higher than placebo. In Study RA-III, the types and
 frequencies of adverse reactions in the second year open-label extension were similar to those observed in the
 one-year double-blind portion.


      Table 1. Adverse Reactions Reported by ;:5% of Patients Treated with HUMIRA During Placebo-Controlled Period of
                   . Rheumatoid Arthritis Studies
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                                                                                    HUlRA            Placebo
                                                                               40 mg subcutaneous
                                                                                Every Other Week
                                                                                        (N=705)      (N=690)
Adverse Reaction (Preferred Term)
 Respiratory
   Upper respiratory infection                                                           17%           13%
   Sìnusitìs                                                                             11%           9%
   Flu syndrome                                                                           7%           6%
Gastrointestinal
  Nausea                                                                                  9%            8%
   Abdominal pain                                                                         7%           4%
Laboratory Tests*
   Laboratory test abnormal                                                               8%            7%
   Hypercholesterolemia                                                                   6%           4%
   Hyperlipidemia                                                                         7%            5%
   Hematuria                                                                              5%           4%
   Alkaline phosphatase increased                                                         5%            3%
Other
   Headache                                                                              12%            8%
   Rash                                                                                  12%            6%
   Accidental injury                                                                     10%            8%
   Injection site reaction **                                                             8%            1%
   Back   pain         v                                                                  6%            4%
   Urinary tract infection                                                                8%            5%
   Hypertension                                                                           5%            3%
* Laboratory test abnormalities were reported as adverse reactions in European trials
** Does not include injection site erythema, itchìng, hemorrhage, pain or swelling

Other Adverse Reactions

Other infrequent serious adverse reactions that do not appear in the Warnings and Precautions or Adverse
Reaction sections that occurred at an incidence ofless than 5% in HUIR-treated patients in RA studies
were:

Body As A Whole: Pain in extremity, pelvic pain, surgery, thorax pain

Cardiovascular System: Arhythmia, atrial fibrilation, chest pain, coronary artery disorder, heart arrest,
hypertensive encephalopathy, myocardial infarct, palpitation, pericardial effusion, pericarditis, syncope,
tachycardia

Digestive System: Cholecystitis, cholelithiasis, esophagitis, gastroenteritis, gastrointestinal hemorrhage,
hepatic necrosis, vomiting

Endocrine System.' Parathyroid disorder

Hemic And Lymphatic System.' Agranulocytosis, polycythemia
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Metabolic And Nutritional Disorders: Dehydration, healing abnormal, ketosis, paraproteinemia, peripheral
edema

Musculo-Skeletal System: Arhritis, bone disorder, bone fracture (not spontaneous), bone necrosis, joint
disorder, muscle cramps, myasthenia, pyogenic arthritis, synovitis, tendon disorder

Neoplasia: Adenoma

Nervous       System.' Confusion, paresthesia, subdural hematoma, tremor

Respiratory System: Asthma, bronchospasm, dyspnea, lung function decreased, pleural effusion

Special Senses.' Cataract

Thrombosis: Thrombosis leg

Urogenital System: Cystitis, kidney calculus, menstrual disorder

Juvenile Idiopàthic Arthritis Clinical Studies

In general, the adverse reactions in the HUMIR-treated pediatric patients in the juvenile idiopathic arthritis
(JIA) trial were similar in frequency and type to those seen in adult patients (see Warnings and Precautions
(5), Adverse Reactions (6)). Important findings and differences from adults are discussed in the following
paragraphs.

HUMIR was studied in 171 pediatric patients, 4 to 17 years of age, with polyarticular IIA. Severe adverse
reactions reported in the study included neutropenia, streptococcal pharyngitis, increased aminotransferases,
herpes zoster, myositis, metrorrhagia, appendicitis. Serious infections were observed in 4% of patients within
approximately 2 years of      initiation of   treatment with HUMIR and included cases of        herpes simplex,

pneumonia, urinary tract infection, pharyngitis, and herpes zoster.

A total of 45% of children experienced an infection while receiving HUMIRA with or without concomitant
MTX in the first 16 weeks of                    treatment. The types of infections reported in HUMIR-treated patients were
generally similar to those commonly seen in JIA patients who are not treated with TNF blockers. Upon
initiation of       treatment, the most common adverse reactions occurring in the pediatric population treated with
HUMIRA were injection site pain and injection site reaction (19% and 16%, respectively). A less commonly
reported adverse event in children receiving HUMIR was granuloma annul                         are which did not lead to
discontinuation of HUM                  IRA treatment.

Inthe first 48 weeks oftreatment, non-serious hypersensitivity reactions were seen in approximately 6% of
children and included primarily localized allergic hypersensitivity reactions and allergic rash.

Isolated mild to moderate elevations of liver aminotransferases (ALT more common than AST) were observed
in children with JIA exposed to HUMIR alone; liver enzyme test elevations were more frequent among
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those treated with the combination of                       HUM    IR and MTX than those treated with HUMIRA alone. In general,
these elevations did not lead to discontinuation of                     HUM   IR treatment.

In the JIA trial, 10% of              patients treated with HUMIR who had negative baseline anti-dsDNA antibodies
developed positive titers after 48 weeks of               treatment. No patient developed clinical signs of autoimmunity
during the clinical triaL.

Approximately 15% of children treated with HUMIR developed mild-to-moderate elevations of creatine
phosphokinase (CPK). Elevations exceeding 5 times the upper limit of    normal were observed in several
patients. CPK levels decreased or returned to normal in all patients. Most patients were able to continue
HUMIR without interruption.

Psoriatic Arthritis and Ankylosing Spondylitis Clinical Studies

HUMIR has been studied in 395 patients with psoriatic arthritis (PsA) in two placebo-controlled trials and in
an open label study and in 393 patients with ankylosing spondylitis (AS) in two placebo-controlled studies.
The safety profie for patients with PsA and AS treated with HUM                IRA 40 mg every other week was similar to
the safety profile seen in patients with RA, HUM                IRA Studies RA-I through IV.

Crohn 's Disease Clinical Studies

HUMIR has been studied in 1478 patients with Crohn's disease in four placebo-controlled and two open-
label extension studies. The safety profile for patients with Crohn's disease treated with HUIR was similar
to the safety profile seen in patients with RA.

Plaque Psoriasis Clinical Studies

HUMIRA has been studied in 1696 patients with plaque psoriasis in placebo-controlled and open-label
extension studies. The safety profie for patients with plaque psoriasis treated with HUIR was similar to
the safety profie seen in patients with RA with the following exceptions. In the placebo-controlled portions of
the clinical trials in plaque psoriasis patients, HUMIR-treated patients had a higher incidence of arthralgia
when compared to controls (3% vs. 1%).

6.2 Postmarketing Experience

Adverse reactions have been reported during post-approval use of           IRA. Because these reactions are
                                                                                       HUM


reported voluntarily from a population of uncertain size, it is not always possible to reliably estimate their
frequency or establish a causal relationship to HUMIR exposure.

Gastrointestinal disorders: Diverticulitis, large bowel perforations including perforations associated with
diverticulitis and appendiceal perforations associated with appendicitis, pancreatitis

Respiratory disorders: Interstitial                   lung disease, including pulmonary fibrosis

Skin reactions: Stevens Johnson Syndrome, cutaneous vasculitis, erythema multiforme, new or worsening
psoriasis (all sub-types including pustular and palmoplantar)
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Vascular disorders: Systemic vasculitis

7 DRUG INTERACTIONS

7.1 Methotrexate

HUMIR has been studied in rheumatoid arthritis (RA) patients taking concomitant methotrexate (MTX).
Although MTX reduced the apparent adalimumab clearance, the data do not suggest the need for dose
adjustment of either HUMIR or MTX (see Clinical Pharmacology (12.3)).

7.2 Biologic Products

In clinical studies in patients with RA, an increased risk of serious infections has been seen with the
combination ofTNF blockers with anakima or abatacept, with no added benefit; therefore, use of                              HUM   IR
with abatacept or anakima is not recommended in patients with RA (see Warnings and Precautions (5.7 and
5. l1)J. A higher rate of serious infections has also been observed in patients with RA treated with rituximab
who received subsequent treatment with a TNF blocker. There is insuffcient information to provide
recommendations regarding the concomitant use of       HUM   IRA and other biologic products for the treatment of
RA' PsA, AS, Crohn's Disease, and plaque psoriasis.

7.3 Live Vaccines

Live vaccines should not be given concurrently with HUMIR (see Warnings and Precautions (5.10)).

8 USE IN SPECIFIC POPULATIONS

. 8.1 Pregnancy

Pregnancy Category B - An embryo-fetal perinatal developmental toxicity study has been performed in
cynomolgus monkeys at dosages up to 100 mg/kg (266 times human AUC when given 40 mg subcutaneously
with methotrexate every week or 373 times human AUC when given 40 mg subcutaneously without
methotrexate) and has revealed no evidence of                              harm to the fetuses due to adalimumab. There are, however, no
adequate and well-controlled studies in pregnant women. Because animal reproduction and developmental
studies are not always predictive of human response, HUMIRA should be used during pregnancy only if
clearly needed.

Pregnancy Registry: To monitor outcomes of    pregnant women exposed to HUMIR, a pregnancy registry
has been established. Physicians are encouraged to register patients by calling 1-877-311-8972.

8.3 Nursing Mothers

It is not known whether adalimumab is excreted in human milk or absorbed systemically after ingestion.
Because many drugs and immunoglobulins are excreted in human milk, and because of                                 the potential for

serious adverse reactions in nursing infants from HUMIR, a decision should be made whether to discontinue
nursing or to discontinue the drug, taking into account the importance of the drug to the mother.
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8.4 Pediatric Use

Safety and effcacy of             HUM       IR in pediatric patients for uses other than          juvenile idiopathic arthritis (JIA)
have not been established.

Juvenile Idiopathic Arthritis

In the JIA trial, HuM IRA was shown to reduce signs and symptoms of active polyarticular JIA in patients 4 to
17 years of age (see Clinical Studies (14.2)). HUMIR has not been studied in children less than 4 years of
age, and there are limited data on HUMIRA treatment in children with weight .:15 kg.

The safety of           HUM   IRA in pediatric          patients in the JIA trial was generally    similar to that observed in adults
with certain exceptions (see Adverse Reactions (6.1)J.

Post-marketing cases of malignancies, some fatal, have been reported among children, adolescents, and young
adults who received treatment with TNF-blockers including HUMIR (see Warnings and Precautions (5.2)).

8.5 Geriatric Use

A total of 519 rheumatoid arthritis patients 65 years of age and older, including 107 patients 75 years of age
and older, received HUM   IRA in clinical studies RA-I through iv. No overall difference in effectiveness was
observed between these subjects and younger subjects. The frequency of serious infection and malignancy
among HUMIRA treated subjects over 65 years of age was higher than for those under 65 years of age.
Because there is a higher incidence of infections and malignancies in the elderly population in general, caution
should be used when treating the elderly.

10 OVERDOSAGE

Doses up to 10 mg/kg have been administered to patients in clinical trials without evidence of dose-limiting
toxicities. In case of overdosage, it is recommended that the patient be monitored for any signs or symptoms
of adverse reactions or effects and appropriate symptomatic treatment instituted immediately.

11 DESCRIPTION

HUMIRA (adalimumab) is a recombinant human IgG 1 monoclonal antibody specific for human tumor
necrosis factor (TNF). HUMIR was created using phage display technology resulting in an antibody with
human derived heavy and light chain variable regions and human IgG 1 :k constant regions. Adalimumab is
produced by recombinant DNA technology in a mammalian cell expression system and is purified by a
process that includes specific viral inactivation and removal steps. It consists of 1330 amino acids and has a
molecular weight of approximately 148 kilodaltons.

HUMIR is supplied as a sterile, preservative-free solution of adalimumab for subcutaneous administration.
The drug product is supplied as either a single-use, prefilled pen (HU     IRA Pen) or as a single-use, 1 mL
pre  filled glass syringe. Enclosed within the pen is a single-use, 1 mL prefilled glass syringe. The solution of
HUMIR is clear and colorless, with a pH of about 5.2.
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Each prefilled syrnge delivers 0.8 mL (40 mg) of drug product. Each 0.8 mL ofHUIR contains 40 mg
adalimumab, 4.93 mg sodium chloride, 0.69 mg monobasic sodium phosphate dihydrate, 1.22 mg dibasic
sodium phosphate dihydrate, 0.24 mg sodium citrate, 1.04 mg citric acid monohydrate, 9.6 mg mannitol, 0.8
mg polysorbate 80, and Water for Injection, USP. Sodium hydroxide added as necessary to adjust pH.

Each pediatric prefilled syringe delivers 0.4 mL (20 mg) of drug product. Each 0.4 mL ofHUIR contains
20 mg adalimumab, 2.47 mg sodium chloride, 0.34 mg monobasic sodium phosphate dihydrate, 0.61 mg
dibasic sodium phosphate dihydrate, 0.12 mg sodium citrate, 0.52 mgcitric acid monohydrate, 4.S mg
mannitol, 0.4 mg polysorbate 80, and Water for Injection, USP. Sodium hydroxide added as necessary to
adjust pH.

12 CLINICAL PHARMACOLOGY

12.1 Mechanism of Action

Adalimumab binds specifically to TNF-alpha and blocks its interaction with the p55 and p75 cell surface TNF
receptors. Adalimumab also lyses surface TNF expressing cells in vitro in the presence of complement.
Adalimumab does not bind or inactivate lymphotoxin (TNF-beta). TNF is a naturally occurring cytokine that
is involved in normal inflammatory and immune responses. Elevatedlevels ofTNF are found in the synovial
fluid of     rheumatoid arthrtis, including juvenile idiopathic arthritis, psoriatic arthrtis, and ankylosing
spondylitis patients and play an important role in both the pathologic inflammation and the joint destruction
that are hallmarks of    these diseases. Increased levels ofTNF are also found in psoriasis (Ps) plaques. In plaque
psoriasis, treatment with HUMIR may reduce the epidermal thickness and infiltration of inflammatory cells.
The relationship between these pharmacodynamic activities and the mechanism(s) by which HUIR exerts
its clinical effects is unknown.

Adalimumab also modulates biological responses that are induced or regulated by TNF, including changes in
the levels of adhesion molecules responsible for leukocyte migration (ELAM-1, VCAM-1, and ICAM-1 with
an ICso of 1-2 X 10-lOM).

12.2 Pharmacodynamics

After treatment with HUMIR, a decrease in levels of acute phase reactants of inflammation (C-reactive
protein (CRPJ and erythrocyte sedimentation rate (ESRJ) and serum cytokines (IL-6) was observed compared
to baseline in patients with rheumatoid arthritis. A decrease in CRP levels was also observed in patients with
Crohn's disease. Serum levels of  matrix metalloproteinases (MMP-1 and MMP-3) that produce tissue
remodeling responsible for cartilage destruction were also decreased after HUMIRA administration.

12.3 Pharmacokinetics
The maximum serum concentration (Cmax) and the time to reach the maximum concentration (Tmax) were 4.7::
1.6 t.g/mL and 131 :: 56 hours respectively, following a single 40 mg subcutaneous administration of
HUMIR to healthy adult subjects. The average absolute bioavailability of adalimumab estimated from three
studies following a single 40 mg subcutaneous dose was 64%. The pharmacokinetics of adalimumab were
linear over the dose range of 0.5 to 10.0 mg/kg following a single intravenous dose.
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 The single dose pharmacokinetics of adalimumab in rheumatoid arthritis (RA) patients were determined in
 several studies with intravenous doses ranging from 0.25 to 10 mg/kg. The distribution volume (Vss) ranged
 from 4.7 to 6.0 L. The systemic clearance of adalimumab is approximately 12 mL/h. The mean terminal half-
 life was approximately 2 weeks, ranging from 10 to 20 days across studies. Adalimumab concentrations in the
 synovial fluid from five rheumatoid arthritis patients ranged from 31 to 96% of those in serum.

 In RA patients receiving 40 mg HUMIRA every other week, adalimumab mean steady-state trough
 concentrations of approximately 5 /Lg/mL and 8 to 9 /Lg/mL, were observed without and with methotrexate
  (MTX), respectively. MTX reduced adalimumab apparent clearance after single and multiple dosing by 29%
  and 44% respectively, in patients with RA. Mean serum adalimumab trough levels at steady state increased
. approximately proportionally with dose following 20, 40, and 80 mg every other week and every week
  subcutaneous dosing. In long-term studies with dosing more than two years, there was no evidence of changes
  in clearance over time.

 Adalimumab mean steady-state trough concentrations were slightly higher in psoriatic arthritis patients treated
 with 40 mg HUMIRA every other week (6 to 10 /Lg/mL and 8.5 to 12 /Lg/mL, without and with MTX,
 respectively) compared to the concentrations in RA patients treated with the same dose.

 The pharmacokinetics of adalimumab in patients with ankylosing spondylitis were similar to those in patients
 withRA.
                                                                                                                         i

 In patients with Crohn's disease, the loading dose of 160 mg HUMIR on Week 0 followed by 80 mg                          i

                                                                                                                         !
 HUMIR on Week 2 achieves mean serum adalimumab trough levels of                     approximately 12 /Lg/mL at Week 2   i


 and Week 4. Mean steady-state trough levels of approximately 7 /Lg/mL were observed at Week 24 and Week                 I

 56 in Crohn's disease patients after receiving a maintenance dose of 40 mg HUMIR every other week.
                                                                                                                         I



 In patients with plaque psoriasis, the mean steady-state trough concentration was approximately 5 to 6 /Lg/mL
                                                                                                                         I.
 during adalimumab 40 mg every other week monotherapy treatment.

 Population pharmacokinetic analyses in patients with RA revealed that there was a trend toward higher
 apparent clearance of adalimumab in     the presence of anti-adalimumab antibodies, and lower clearance with
                                                                                                                         I
 increasing age in patients aged 40 to '/75 years.

 Minor increases in apparent clearance were also predicted in RA patients receiving doses lower than the
 recommended dose and in RA patients with high rheumatoid factor or CRP concentrations., These increases
 are not likely to be clinically important.

 No gender-related pharmacokinetic differences were observed after correction for a patient's body weight.
 Healthy volunteers and patients with rheumatoid arthrtis displayed similar adalimumab pharmacokinetics.

 No pharmacokinetic data are available in patients with hepatic or renal impairment.

 In subjects with          juvenile idiopathic arthritis (4 to 17 years of age), the mean steady-state trough serum
 adalimumab concentrations for subjects weighing -:30 kg receiving 20 mg HUIR subcutaneously every
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other week as monotherapy or with concomitant methotrexate were 6.8 t.g/mL and 10.9 t.g/mL, respectively.
The mean steady-state trough serum adalimumab concentrations for subjects weighing 2:30 kg receiving 40
mg HUM         IRA subcutaneously every other week as monotherapy or with concomitant methotrexate were 6.6
t.g/mL and 8.1 t.g/mL, respectively.

13 NONCLINICAL TOXICOLOGY

13.1 Carcinogenesis, Mutagenesis, Impairment of Fertilty

Long-term animal studies of                   HUM       IRA have not been conducted to evaluate the carcinogenic potential or its
effect on fertility. No clastogenic or mutagenic effects of                  HUM  IRA were observed in the in vivo mouse
micronucleus test or the Salmonella-Escherichia coli (Ames) assay, respectively.

14 CLINICAL STUDIES

14.1 Rheumatoid Arthritis

The effcacy and safety of                 HUM       IRA were assessed in five randomized, double-blind studies in patients 2:18
years of age with active rheumatoid arthritis diagnosed according to American College of                    Rheumatology
(ACR) criteria. Patients had at least 6 swollen and 9 tender joints. HUIRA was administered subcutaneously
in combination with methotrexate (MTX) (12.5 to 25 mg, Studies RA-I, RA-III and RA-V) or as monotherapy
(Studies RA-II and RA- V) or with other disease-modifying anti-rheumatic drugs (DMARs) (Study RA-IV).

Study RA-I evaluated 271 patients who had failed therapy with at least one but no more than four DMARs
and had inadequate response to MTX. Doses of20, 40 or 80 mg of   HUM    IRA or placebo were given every
other week for 24 weeks.

Study RA-II evaluated 544 patients who had failed therapy with at least one DMARD. Doses of                          placebo, 20 or
40 mg of       HUM          IR were given as monotherapy every other week or weekly for 26 weeks.

StudyRA-III evaluated 619 patients who had an inadequate response to MTX. Patients received placebo, 40
mg of      HUM      IR every other week with placebo injections on alternate weeks, or 20 mg ofHUIRA weekly
for up to 52 weeks. Study RA-III had an additional primary endpoint at 52 weeks of                           inhibition of disease
progression (as detected by X-ray results). Upon completion of                         the first 52 weeks, 457 patients enrolled in an
open-label extension phase in which 40 mg of                               HUMIR was administered every other week for up to 5 years.

Study RA-IV assessed safety in 636 patients who were either DMAR-naive or were permitted to remain on
their pre-existing rheumatologic therapy provided that therapy was stable for a minimum of 28 days. Patients
were randomized to 40 mg of HUM     IRA or placebo every other week for 24 weeks.

Study RA-V evaluated 799 patients with moderately to severely active rheumatoid arthrtis ofless than 3 years
duration who were 2: 18 years old and MTX naïve. Patients were randomized to receive either MTX (optimized
to 20 mg/week by week 8), HUIRA 40 mg every other week or HUIRATX combination therapy for
104 weeks. Patients were evaluated for signs and symptoms, and for radiographic progression of                        joint damage.
The median disease duration among patients enrolled in the study was 5 months. The median MTX dose
achieved was 20 mg.
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Clinical Response

The percent of         HUM      IRA treated patients achieving ACR 20,50 and 70 responses in Studies RA-II and III are
shown in Table 2.


                                   Table 2. ACR Responses in Studies RA-II and RA-III (Percent of Patients)
                                                    Study RA-II Study RA-III
                                                Monotherapy Methotrexate Combination
                                                    (26 weeks) (24 and 52 weeks)
Response                     Placebo HUMlRA HUMlRA Placebo/MTX HUMlRATX
                                                40 mg every 40 mg weekly 40 mg every
                                                 other week other week
                              N=110 N=l13 N=103 N=200 N=207
ACR20
Month 6                         19%                 46%*              53%*                   30%                      63%*
Month 12                        NA                   NA                NA                    24%                      59%*
ACR50
Month 6                         8%                  22%*              35%*                   10%                      39%*
Month 12                        NA                   NA                NA                    10%                      42%*
ACR70
Month 6                2%                           12%*              18%*                   3%                       21%*
Month 12               NA                           NA                 NA                    5%                       23%*
* po:O.Ol, HUMlRA vs. placebo

The results of Study RA-I were similar to Study RA-III; patients receiving HUMIR 40 mg every other week
in StudyRA-I also achieved ACR 20,50 and 70 response rates of65%, 52% and 24%, respectively, compared
to placebo responses of 13%, 7% and 3% respectively, at 6 months (pO:O.01).

The results of        the components of               the ACR response criteria for Studies RA-II and RA-III are shown in
Table 3. ACR response rates and improvement in all components of ACR response were maintained to week
104. Over the 2 years in Study RA-III, 20% of                     HUM   IR patients receiving 40 mg every other week (EOW)
achieved a major clinical response, defined as maintenance of an ACR 70 response over a 6-month period.
ACR responses were maintained in similar proportions of                       patients for up to 5 years with continuous HUMIR
treatment in the open-label portion of Study RA-III.


                                          Table 3. Components of ACR Response in Studies RA-II and RA-III
                                                     Study RA-II                                    Study RA-III
Parameter (median)                         Placebo               HUMlRAa             P1aceboIMTX             HUMIRA alMTX
                                            N=110                   N=113                N=200                      N=207
                                    Baseline        Wk26    Baseline         Wk26    Baseline      Wk24       Baseline       Wk24
Number of tender                          35         26        31             16*      26           15          24            8*
joints (0-68)

Number of swollen                         19         16        18             10*       17          11          18            5*
joints (0-66)

Physician global                          7.0        6.1      6.6            3.7*      6.3          3.5         6.5          2.0*
assessmentb
Patient global                            7.5        6.3      7.5            4.5*      5.4          3.9         5.2          2.0*
                 b
assessment
p . b                                     7.3        6.1      7.3                      6.0          3.8         5.8
  am                                                                         4.1 *                                           2.1 *
                   Case 2:18-cv-09253-JCZ-JVM Document 37-3 Filed 05/13/20 Page 24 of 70
Disability index 2.0 1.9 1.9 1.* 1. 1. 1. q.8*
(HAQ)c
CRP       (mg/dL) 3.9 4.3 4.6 1.8* 1.0 0.9 1.0 0.4*
a 40 mg HUMlRA administered every other week
b Visual analogue scale; 0 = best, 10 = worst
C Disability Index of
                     the Health Assessment Questionnaire; 0 == best, 3 = worst, measures the patient's ability to perform the following:
dress/groom, arise, eat, walk, reach, grip, maintain hygiene, and maintain daily activity
* p~O.OOl, HUlRA vs. placebo, based on mean change from baseline

The time course of ACR 20 response for Study RA-III is shown in Figure 1.

In Study RA-III, 85% ofpatients with ACR 20 responses at week 24 maintained the response at 52 weeks:
The time course of ACR 20 response for Study RA-I and Study RA-II were similar.

Figure 1. Study RA-III ACR 20 Responses over 52 Weeks



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In Study RA-IV, 53% of                    patients treated with HUMIR 40 mg every other week plus standard of              care had an
ACR 20 response at week 24 compared to 35% on placebo plus standard of care (p~O.OOl). No unique adverse
reactions related to the combination of                         HUM      IR (adalimumab) and other DMARs were observed.

In Study RA- V with MTX naïve patients with recent onset rheumatoid arthritis, the combination treatment
with HUMIR plus MTX led to greater percentages of                patients achieving ACR responses than either MTX
monotherapy or HUM                  IRA monotherapy at Week 52 and responses were sustained at Week 104 (see Table 4).


                                                Table 4. ACR Response in Study RA-V (Percent of Patients)
Response                                          MTXb HUMIRA
                                                  N=257  N=274C HUMIRATX
                                                                 N=268
ACR20
   Week 52                                          63%                                  54%                         73%
   Week 104                                         56%                                  49%                         69%
ACR50
                   Case 2:18-cv-09253-JCZ-JVM Document 37-3 Filed 05/13/20 Page 25 of 70
      Week 52 46%
      Week 104 43% 41%
                   37% 62%
                       59%
ACR70
      Week 52 27%
      Week 104 28% 26%
                   28% 46%
                       47%
Major            Clinical Response a 28% 25% 49%
a Major clinical response is defined as achieving an ACR70 response for a continuous six month period
b p-(0.05, HUMlRA/MTX VS. MTX for ACR 20
p-(O.OOl, HUMlRAIMTX VS. MTX for ACR 50 and 70, and Major Clinical Response
C p-(0.001, HUMlRA/MTX VS. HUMlRA


                                 the ACR response criteria for Study RA-V improved in the
At Week 52, all individual components of


HUMIRMTX group and improvements were maintained to Week 104.

Radiographic Response

In Study RA-III, structural joint damage was assessed radiographically and expressed as change in Total
Sharp Score (TSS) and its components, the erosion score and Joint Space Narrowing (JSN) score, at month 12
compared to baseline. At baseline, the median TSS was approximately 55 in the placebo and 40 mg every
other week groups. The results are shown in Table 5. HUMIRMTX treated patients       demonstrated less
radiographic progression than patients receiving MTX alone at 52 weeks.


                                       Table 5. Radiographic Mean Changes Over 12 Months in Study RA-III
                                      PlacebolMTX HUMlRA/MTX P1acebo/MTX-                                                                              P-value**
                                                                      40 IDg every HUMlRATX (95% Confidence
                                                                       other week Interval *)
Total Sharp score 2.7 0.1 2.6 (1.4, 3.8)                                                                                                                -(0.001
Erosion score
JSN score     1.6
            1.0   0.00.9
                0.1   1.6(0.3,
                          (0.9, 1.4)
                                2.2)                                                                                                                    -(0.001
                                                                                                                                                         0.002
*95% confidence intervals for the differences in change scores between MTX and HUMlRA.
**Based on rank analysis

In the open-label extension of Study RA-III, 77% of                                  the original patients treated with any dose of              HUM    IR
were evaluated radiographically at 2 years. Patients maintained inhibition of structural damage, as measured
by the TSS. Fifty-four percent had no progression of structural damage as defined by a change in the TSS of
zero or less. Fifty-five percent (55%) of patients originally treated with 40 mg HUMIR every other week
have been evaluated radiographically at 5 years. Patients had continued inhibition of structural damage with
50% showing no progression of structural damage defined by a change in the TSS of zero or less.

In Study RA-V, structural                  joint damage was assessed as in Study RA-III. Greater inhibition of                               radiographic
progression, as assessed by changes in TSS, erosion score and JSN was observed in the HUIRTX
combination group as compared to either the MTX or HUMIRA monotherapy group at Week 52 as well as at
Week 104 (see Table 6).


                                                      Table 6. Radiographic Mean Change* in Study RA-V
                                                           MTXa HUMIRA a,b                                                            HUMlRATX
                                                           N=257 N=274                                                                   N=268
52 Weeks                Total Sharp score 5.7 (4.2,7.3) 3.0 (1.7, 4.3)                                                                 1. (0.5, 2.1)
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                           Erosion score               3.7 (2.7, 4.8)       1.7 (1.0,2.4)                      0.8 (0.4, 1.2)

                           JSN score                   2.0 (1.2, 2.8)       1. (0.5,2.1)                       0.5 (0.0, 1.0)

 104 Weeks                 Total Sharp score          10.4 (7.7, 13.2)     5.5 (3.6,7.4)                       1.9 (0.9, 2.9)
                           Erosion score               6.4 (4.6, 8.2)      3.0 (2.0, 4.0)                      1.0 (0.4, 1.6)

                JSN score                              4.1(2.7,5.4)        2.6 (1.5, 3.7)                      0.9 (0.3, 1.)
 * mean (95% confidence interval)
 a
     p~O.OOl, HUMlRA/MTX VS. MTX at 52 and 104 weeks and for HUMlRA/MTX VS. HUMlRA at 104 weeks
 b
..._p~Q.01,for HUMlRAIMTX VS. HUMlRA at 52 weeks

Physical Function Response

 In studies RA-I through IV, HUMIRA showed significantly greater improvement than placebo in the disability
 index of Health Assessment Questionnaire (HAQ-DI) from baseline to the end of study, and significantly
 greater improvement than placebo in the health-outcomes as assessed by The Short Form Health Survey (SF
 36). Improvement was seen in both the Physical Component Summary (PCS) and the Mental Component
 Summary (MCS).

 In Study RA-III, the mean (95% CI) improvement in HAQ-DI from baseline at week 52 was 0.60 (0.55,0.65)
 for the HUMIR patients and 0.25 (0.17,0.33) for placebo/MTX (pO:O.001) patients. Sixty-three percent of
 HUMIRA-treated patients achieved a 0.5 or greater improvement in HAQ-DI at week 52 in the double-blind
 portion of the study. Eighty-two percent of these patients maintained that improvement through week 104 and
 a similar proportion of              patients maintained this response through week 260 (5 years) of open-label treatment.
 Mean improvement in the SF-36 was maintained through the end of                            measurement at week 156 (3 years).

 In Study RA-V, the HAQ-DI and the physical component of                         the SF-36 showed greater improvement
 (pO:O.001) for the HUMIRAMTX combination therapy group versus either the MTX monotherapy or the
 HUM  IRA monotherapy group at Week 52, which was maintained through Week 104.

 14.2 Juvenile Idiopathic Arthritis ¡
                                                                                                                                      i
                                                                                                                                      !

 The safety and effcacy of                 HUM       IRA were assessed in a multicenter, randomized, withdrawal, double-blind,
 parallel-group study in 171 children (4 to 17 years of age) with polyarticular juvenile idiopathic arthritis (JIA).
 In the study, the patients were stratified into two groups: MTX-treated or non-MTX-treated. All subjects had
 to show signs of active moderate or severe disease despite previous treatment with NSAIDs, analgesics,
 corticosteroids, or DMARDS. Subjects who received prior treatment with any biologic DMARS were
 excluded from the study.

 The study included four phases: an open-label lead in phase (OL-LI; 16 weeks), a double-blind randomized
 withdrawal phase (DB; 32 weeks), an open-label extension phase (OLE-BSA; up to 136 weeks), and an open-
 label fixed dose phase               (OLE-FD; 16 weeks). In the first three phases of
                                                                                            the study, HUMIRA was administered
 based on body surface area at a dose of 24 mg/m2 up to a maximum total body dose of 40 mg subcutaneously
 (SC) every other week. In the OLE-FD phase, the patients were treated with 20 mg of
                                                                                                                   HUM IRA SC every
 other week if          their weight was less than 30 kg and with 40 mg of             HUM IR SC every other week if         their
 weight was 30 kg or greater, Patients remained on stable doses ofNSAIDs and or prednisone (::0.2 mglkg/day
 or 10 mg/day maximum).
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 Patients demonstrating a Pediatric ACR 30 response at the end of OL- LI phase were randomized into the
 double blind (DB) phase of the study and received either HUMIRA or placebo every other week for 32 weeks
 or until disease flare, Disease flare was defined as a worsening of~30% from baseline in ~3 of 6 Pediatric
 ACR core criteria, ~2 active joints, and improvement of:;30% inno more than 1 of    the 6 criteria. After 32
 weeks or at the time of disease flare during the DB phase, patients were treated in the open-label extension
 phase based on the BSA regimen (OLE-BSA), before converting to a fixed dose regimen based on body
 weight (OLE-FD phase).

 Clinical Response

 At the end of        the 16-week OL-LI phase, 94% of                         the patients in the MTX stratum and 74% of                the patients in
  the non-MTX stratum were Pediatric ACR 30 responders. In the DB phase significantly fewer patients who
  received HUM            IRA experienced disease flare compared to placebo, both without MTX (43% vs. 71 %) and
. with MTX (37% vs. 65%). More patients             treated with HUMIR continued to show pediatric ACR 30/50170
  responses at Week 48 compared to patients treated with placebo. Pediatric ACR responses were maintained
  for up to two years in the OLE phase         in patients who received HUMIR throughout the study.

 14.3 Psoriatic Arthritis


 The safety and effcacy of                 HUM       IRA was assessed in two randomized, double-blind, placebo controlled
 studies in 413 patients with psoriatic arthritis. Upon completion of                                      both studies, 383 patients enrolled in an
 open-label extension study, in which 40 mg HUMIRA was administered every other week.

 Study PsA-I enrolled 313 adult patients with moderately to severely active psoriatic arthritis (:;3 swollen and
 :;3 tender joints) who had an inadequate response to NSAID therapy in one of     the following forms: (1) distal
 interphalangeal (DIP) involvement (N=23); (2) polyarticular arthrtis (absence of    rheumatoid nodules and
 presence of plaque psoriasis) (N=210); (3) arthritis mutilans (N=1); (4) asymmetric psoriatic arthritis (N=77);
 or (5) ankylosing spondylitis-like (N=2). Patients on MTX therapy (158 of313 patients) at enrollment (stable
 dose of::30 mglweek for:;l month) could continue MTX at the same dose. Doses ofHUIR 40 mg or
 placebo every other week were administered during the 24-week double-blind period of                                              the study.



 Compared to placebo, treatment with HUIR resulted in improvements in the measures of disease activity
 (see Tables 7 and 8). Among patients with psoriatic arthritis who received HUMIR, the clinical responses
 were apparent in some patients at the time of                            the first visit (two weeks) and were maintained up to 88 weeks in
 the ongoing open-label study. Similar responses were seen in patients with each of                             the subtypes of psoriatic
 arthritis, although few patients were enrolled with the arthritis mutilans and ankylosing spondylitis-like
 subtypes. Responses were similar in patients who were or were not receiving concomitant MTX therapy at
 baseline.

 Patients with psoriatic involvement of at least three percent body surface area (BSA) were evaluated for
 Psoriatic Area and Severity Index (PAS  I) responses. At 24 weeks, the proportions of patients achieving a 75%
 or 90% improvement in the PASI were 59% and 42% respectively, in the HUMIR group (N=69), compared
 to 1 % and 0% respectively, in the placebo group (N=69) (p-:0.001). PAS                                             I responses were apparent in some
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                     the first visit (two weeks). Responses were similar in patients who were or were not
patients at the time of


receiving concomitant MTX therapy at baseline.


                                               Table 7. ACR Response in Study PsA-I (Percent of Patients)
                                                                                                                                      *
                                                                          Placebo                                        HUMlRA
                                                                          N=162                                           N=151
ACR20
         Week 24
         Week 12 15%
                 14%                                                                                                            58%
                                                                                                                                57%
ACR50
         Week
         Week 12
              24 4%
                 6%                                                                                                             36%
                                                                                                                                39%
ACR70
         W~k
         Week12  1%
              24 1%                                                                                                             20%
                                                                                                                                23%
* p~O. 00 l' for all comparisons between HUMlRA and placebo

                                                  Table 8. Components of Disease Activity in Study PsA-I
                                                                                                                                          *
                                                                              Placebo                                           HUMlRA
                                                                              N=162                                              N=151
Parameter: median Baseline 24 weeks                                                                                  Baseline                 24 weeks
Number      of   tender    jointsa 23.0 17.0                                                                          20.0                       5.0

Number      of   swollen   jointsb 11.0 9.0                                                                            11.0                     3.0

Physician global assessmentC 53.0 49.0                                                                                 55.0                     16.0

Patient global assessmentC 49.5 49.0                                                                                   48.0                     20.0
Painc        49.0       49.0
Disability index (HAQ) d 1.0 0.9
                                                                                                                       54.0
                                                                                                                       1.0
                                                                                                                                                20.0
                                                                                                                                                0.4

CRP (mg/dL)e 0.8 0.7                                                                                                   0.8                      0.2
* p~O.OOl for HUMlRA vs. placebo comparisons based on median changes
a Scale 0-78
b Scale 0-76
C Visual analog scale; O=best, 100=worst
d
     Disability Index of      the Health Assessment Questionnaire; O=best, 3=worst; measures the patient's ability                to perform the following:
dress/groom, arise, eat, walk, reach, grip, maintain hygiene, and maintain daily activity.
e
   Normal range: 0-0.287 mg/dL

Similar results were seen in an additional, 12-week study in 100 patients with moderate to severe psoriatic
arthritis who had suboptimal response to DMAR therapy as manifested by 2:3 tender joints and 2:3 swollen
joints at enrollment.

Radiographic Response

Radiographic changes were assessed in the psoriatic arthritis studies. Radiographs of                                        hands, wrists, and feet
were obtained at baseline and Week 24 during the double-blind period when patients were on HUIRA or
placebo and at Week 48 when all patients were on open-label HUMIR. A modified Total Shar Score
(mTSS), which included distal interphalangeal joints (i.e., not identical to the TSS used forrheumatoid
arthritis), was used by readers blinded to treatment group to assess the radiographs.
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HUMIR-treated patients demonstrated greater inhibition of      radiographic progression compared to placebo-
treated patients and this effect was maintained at 48 weeks (see Table 9).


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                                                                       Placebo                                   HUMIRA
                                                                      N=141                                        N=133
                                                                      Week 24                      Week   24                Week 48
Baseline mean                                                           22.1                          23.4                    23.4
                                                                                                                                      .
Mean Change :I SD                                                     0.9:1 3.1                   -0.1 :I 1.               -0.2:1 4.9
* 0:0.001 for the difference between HUM                IRA, Week 48 and Placebo, Week 24 (primary analysis)

Physical Function Response

In Study PsA-I, physical function and disability were assessed using the HAQ Disability Index (HAQ-DI) and
the SF-36 Health Survey. Patients treated with 40 mg of  HUM   IRA every other week showed greater
improvement from baseline in the HAQ-DI score (mean decreases of 47% and 49% at Weeks 12 and 24
respectively) in comparison to placebo (mean decreases of 1 % and 3% at Weeks 12 and 24 respectively). At
Weeks 12 and 24, patients treated with HUMIRA showed greater improvement from baseline in the SF-36
Physical Component Summary score compared to patients treated with placebo, and no worsening in the SF­
36 Mental Component Summary score. Improvement in physical function based on the HAQ-DI was
maintained for up to 84 weeks through the open-label portion of                         the study.


14.4 Ankylosing Spondylitis

The safety and efficacy of HUMIRA 40 mg every other week was assessed in 315 adult patients in a
randomized, 24 week double-blind, placebo-controlled study in patients with active ankylosing spondylitis
(AS) who had an inadequate response to glucocorticoids, NSAIDs, analgesics, methotrexate or sulfasalazine.
Active AS was defined as patients who fulfilled at least two of the following three criteria: (1) a Bath AS
disease activity index (BASDAI) score 2:4 cm, (2) a visual analog score (V AS) for total back pain 2: 40 mm,
and (3) morning stiffness 2: 1 hour. The blinded period was followed by an open-label period during which
patients received HUMIRA 40 mg every other week subcutaneously for up to an additional 28 weeks.

Improvement in measures of disease activity                          was first observed at Week 2 and maintained through 24 weeks
as shown in Figure 2 and Table 10.

Responses of          patients with total spinal ankylosis (n=ll) were similar to those without total ankylosis.

Figure 2. ASAS 20 Response By Visit, Stndy AS-I
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                                                                ~ -&- - PI~cebo (N"'f07)              . HUMIRA (N"206)

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At 12 weeks, the AS             AS 20/50/70 responses were achieved by 58%,38%, and 23%, respectively, of                                 patients
receiving HUMIR, compared to 21 %, 10%, and 5% respectively, of                                             patients receiving placebo (p ,0.001).
Similar responses were seen at Week 24 and were sustained in patients receiving open-label HUIRA for up
to 52 weeks.

A greater proportion of               patients treated with HUIRA (22%) achieved a low level of disease activity at 24
weeks (defined as a value ,20 (on a scale of 0 to 100 mm J in each of the four ASAS response parameters)
compared to patients treated with placebo (6%).


                                             Table 10. Components of Ankylosing Spondylitis Disease Activity
                                                                                   Placebo                   HUMlRA
                                                                                   N=107                      N=208
                                                                        Baseline mean Week 24 mean Baseline mean Week 24 mean
ASAS 20 Response Criteria*

 Total     Disease  Activit/*
        back pain* 67 58 65 3765 60
    Patient's Global Assessment of  63 38
    BASFlc* 56 51 52 34
 Inflammation 6.7 5.6 6.7 3.6
                       b*



BASDAid score* 6.3 5.5 6.3 3.7
BASMie
 Tragus  score*
        to wall    4.2
                (cm) 15.94.1
                           15.8 3.8
                                 15.8 3.3
                                      15.4
 Lumbar flexion (cm) 4.1 4.0 4.2 4.4
    Cervical rotation (degrees) 42.2 42.1 48.4 51.6
    Lumbar side flexion (cm) 8.9 9.0 9.7 11.7
CRP!' 2.2 2.0 1.8 0.6
    Intermalleolar distance (cm) 92.9 94.0 93.5 100.8
a Percent of subjects with at least a 20% and 10-unit improvement measured on a Visual Analog Scale (VAS) with 0 = "none" and
100 = "severe"
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b mean of questions 5 and 60fBASDAI (defined in 'd')
C Bath Ankylosing Spondylitis Functional Index
d Bath Ankylosing Spondylitis Disease Activity Index
e Bath Ankylosing Spondylitis Metrology Index
f C-Reactive Protein (mg/dL)
* statistically significant for comparisons between HUMlRA and placebo at Week 24

A second randomized, multicenter, double-blind, placebo-controlled study of 82 patients with ankylosing
spondylitis showed similar results.

Patients treated with HUMIR achieved improvement from baseline in the Anylosing Spondylitis Quality of
Life Questionnaire (ASQoL) score (-3.6 vs. -1.1) and in the Short Form Health Survey (SF-36) Physical
Component Summary (PCS) score (7.4 vs. 1.9) compared to placebo-treated patients at Week 24.

14.5 Crohn's Disease

The safety and efficacy of                         IRA were assessed in adult patients with moderately to
                                          multiple doses of          HUM


severely active Crohn's disease (Crohn's Disease Activity Index (CDAI) 2: 220 and:: 450) in randomized,
double-blind, placebo-controlled studies. Concomitant stable doses of aminosalicylates, corticosteroids, and/or
immunomodulatory agents were permitted, and 79% of      patients continued to receive at least one of these
medications.
                                                                                                                                    j',

Induction of        clinical remission (defined as CD                  AI ~ 150) was evaluated in two studies. In Study CD-I, 299
TNF-blocker naïve patients were randomized to one of                           four treatment groups: the placebo group received
placebo at Weeks 0 and 2, the 160/80 group received 160 mg HUM                             IRA at Week 0 and 80 mg at Week 2, the
80/40 group received 80 mg at Week 0 and 40 mg at Week 2, and the 40/20 group received 40 mg at Week 0
and 20 mg at Week 2. Clinical results were assessed at Week 4.

In the second induction study, Study CD-II, 325 patients who had lost response to, or were intolerant to,
previous infliximab therapy were randomized to receive either 160 mg HUIR atW eek 0 and 80 mg at
Week 2, or placebo at Weeks 0 and 2. Clinical results were assessed at Week 4.

Maintenance of clinical remission was evaluated in Study CD-III. In this study, 854 patients with active
disease received open-label HUMIRA, 80 mg at week 0 and 40 mg at Week 2. Patients were then randomized
at Week 4 to 40 mg HUMIR every other week, 40 mg HUM           IRA every week, or placebo. The total study
duration was 56 weeks. Patients in clinical response (decrease in CDAI 2:70) at Week 4 were stratified and
analyzed separately from those not in clinical response at Week 4.

Induction of Clinical Remission

A greater percentage of the patients treated with 160/80 mgHUIRA achieved induction of clinical remission
versus placebo at Week 4 regardless of                           whether the patients were TNF blocker naïve (CD-I), or had lost
response to or were intolerant to inflximab (CD-II) (see Table 11).


                             Table 11. Induction of Clinical Remission in Studies CD-I and CD-II (Percent of Patients)
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                                                               CD-I                                         CD-II
                                              Placebo            HUMIRA 160/80 mg            Placebo          HUMIRA 160/80 mg
                                                N=74                  N=76                   N=166                    N=159

Clinical remission 12% 36% 7%
Week    4
                                                                           *
                                                                                                                      21%
                                                                                                                            *


Clinical response 34% 58% ** 34%                                                                                            **




** .
Clinical remission is CDAI score': 150; clinical response is decrease in CDAI of at least 70 points.
*
  p.:0.001 for HUMlRA vs. placebo pairwise comparison of

   p':O.Ol for HUMlRA vs. placebo pairwise comparison of




Maintenance of Clinical Remission
                                                              proportions
                                                             proportions
                                                                                                                      52%




In Study CD-III at Week 4,58% (499/854) of                       patients were in clinical response and were assessed in the
primary analysis. At Weeks 26 and 56, greater proportions of                     patients who were in clinical response at Week 4
achieved clinical remission in the HUMIR 40 mg every other week maintenance group compared to patients
in the placebo maintenance group (see Table 12). The group that received HUMIR therapy every week did
not demonstrate significantly higher remission rates compared to the group that received HUIRA every
other week.




                                    Table 12. Maintenance of Clinical Remission in CD-III (Percent of Patients)


                                                                     Placebo                            40 mgHUMIRA
                                                                                                        every other week



                                                                      N=170                                   N=172
         26
Clinical
Clinical remission
Week

                   17%
         response 28%
                                                                                                              40%*
                                                                                                              54%*
Week 56
Clinical
Clinical remission 12%
         response 18%
                                                                                                              36%*
                                                                                                              43%*
Clinical remission is CDAI score': 150; clinical response is decrease in CDAI of at least 70 points.
*p':O.OOl for HUMIR vs. placebo pairwise comparisons of       proportions

Of those in response at Week 4 who attained remission during the study, patients in the HUIR every other
week group maintained remission for a longer time than patients in the placebo maintenance group. Among
patients who were not in response by Week 12, therapy continued beyond 12 weeks did not result in
significantly more responses.

14.6 Plaque Psoriasis

The safety and effcacy ofHUIRA were assessed in randomized, double-blind, placebo-controlled studies in
1696 adult patients with moderate to severe chronic plaque psoriasis who were candidates for systemic
therapy or phototherapy.
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Study Ps-I evaluated 1212 patients with chronic plaque psoriasis with 2:10% body surface area (BSA)
involvement, Physician's Global Assessment (PGA) of at least moderate disease severity, and Psoriasis Area
and Severity Index (P ASI) 2:12 within. three treatment periods. In period A, patients received placebo or
HUM      IRA at an initial dose of 80 mg at Week 0 followed by a dose of 40 mg every other week starting at
Week 1. After 16 weeks of therapy, patients who achieved at least a P ASI 75 response at Week 16, defined as
a PASI score improvement of at least 75% relative to baseline, entered period B and received open-label 40
mg HUMIRA every other week. After 17 weeks of open label therapy, patients who maintained at least a
PASI 75 response at Week 33 and were originally randomized to active therapy in period A were re-
randomized in period C to receive 40 mg HUM       IRA every other week or placebo for an additional 19 weeks.
Across all treatment groups the mean baseline PASI score was 19 and the baseline Physician's Global
Assessment score ranged from "moderate" (53%) to "severe" (41 %) to "very severe" (6%).

Study Ps-II evaluated 99 patients randomized to HUMIR and 48 patients randomized to placebo with
chronic plaque psoriasis with 2: 1 0% BSA involvement and P ASI 2: 12. Patients received placebo, or an initial
dose of 80 mg HUMIRA at Week 0 followed by 40 mg every other week staring at Week 1 for 16 weeks.
Across all treatment groups the mean baseline P ASI score was 21 and the baseline PGA score ranged from
"moderate" (41%) to "severe" (51%) to "very severe" (8%).

Studies Ps- I and II evaluated the proportion of patients who achieved "clear" or "minimal" disease on the 6­
point PGA scale and the proportion of patients who achieved a reduction in PASI score of at least 75% (PASI
75) from baseline at Week 16 (see Table 13 and 14).

Additionally, Study Ps-I evaluated the proportion of subjects who maintained a PGA of "clear" or "minimal"
disease or a PASI 75 response after Week 33 and on or before Week 52.


                                   Table 13. Effcacy Results at 16 Weeks in Study Ps-I Number of Patients (%)
                                                                     HUMlRA 40 mg every other week              Placebo
                                                                                N= 814                          N=398
PGA: Clear or minimal* 506 (62%)
PAS   I 75 578 (71%)
* Clear = no plaque elevation, no scale, plus or minus hyperpigmentation or diffuse pink or red coloration
                                                                                                                17 (4%)
                                                                                                                26 (7%)

Minimal = possible but difficult to ascertain whether there is slight elevation of plaque above norml skin, plus or minus surface
dryness with some white coloration, plus or minus up to red coloration

                                  Table 14. Effcacy Results at 16 Weeks in Study Ps-II Number of Patients (%)
                                                                     HUMlRA 40 mg every other week              Placebo
                                                                                N=99                            N=48
PGA: Clear or minimal* 70 (71 %)                                                                                5 (10%)
P ASI 75 77 (78%)
* Clear = no plaque elevation, no scale, plus or minus hyperpigmentation or diffuse pink or red coloration
                                                                                                                9 (19%)

Minimal = possible but diffcult to ascertain whether there is slight elevation of plaque above normal skin, plus or minus surface
dryness with some white coloration, plus or minus up to red coloration

Additionally, in Study Ps-I, subjects on HUMIRA who maintained a PASI 75 were re-randomized to
HUMIR (N = 250) or placebo (N = 240) at Week 33. After 52 weeks of treatment with HUMIR, more
patients on HUMIR maintained effcacy when compared to subjects who were re-randomized to placebo
based on maintenance ofPGA of                         "clear" or "minimal" disease (68% VS. 28%) or a PASI 75 (79% VS. 43%).
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A total of347 stable responders participated in a withdrawal and retreatment evaluation in an open-label
extension study. Median time to relapse (decline to PGA "moderate" or worse) was approximately 5 months.
During the withdrawal period, no subject experienced transformation to either pustular or erythrodermic
psoriasis. A total of 178 subjects who relapsed re-initiated treatment with 80 mg of   HUM   IR, then 40 mg
eow beginning at week 1. At week 16, 69% (123/178) of subjects had a response ofPGA "clear" or
"minimal" .

15 REFERENCES

1. National Cancer Institute. Surveillance, Epidemiology, and End Results Database (SEER) Program. SEER
      Incidence Crude Rates, 11 Registries, 1993-2001.

16 HOW SUPPLIED/STORAGE AND HANDLING

HUMIRA (¡ (adalimumab) is supplied in prefilled syringes as a preservative-free, sterile solution for
subcutaneous administration. The following packaging configurations are available.

. HUMIRA Pen Carton

HUMIR is dispensed in a carton containing two alcohol preps and two dose trays. Each dose tray consists of
a single-use pen, containing a 1 mL prefilled glass syringe with a fixed 27 gauge Yi inch needle, providing 40
mg (0.8 mL) of           HUM         IRA. The NDC number is 0074-4339-02.

. HUMIRA Pen - Crohn's Disease Starter Package

HUMIR is dispensed in a carton containing 6 alcohol preps and 6 dose trays (Crohn's Disease Starter
Package). Each dose tray consists of a single-use pen, containing a 1 mL prefilled glass syrnge with a fixed
27 gauge Y2 inch needle, providing 40 mg(0.8 mL) ofHUIR. The NDC number is 0074-4339-06.

. HUMIRA Pen - Psoriasis Starter Package

HUM      IRA is dispensed in a carton containing 4 alcohol preps and 4 dose trays (Psoriasis Starter Package).
Each dose tray cQnsists of a single-use pen, containing a 1 mL prefilled glass syrnge with a fixed 27 gauge Yi
inch needle, providing 40 mg (0.8 mL) of     HUM   IRA. The NDC number is 0074-4339-07.

. Prefiled Syringe Carton - 40 mg


HUMIRA is dispensed in a carton containing two alcohol preps and two dose trays. Each dose tray consists of
a single-use, 1 mL prefilled glass syringe with a fixed 27 gauge Y2 inch needle, providing 40 mg (0.8 mL) of
HUMIR. The NDC number is 0074-3799-02.

. Pediatric Prefiled Syringe Carton - 20 mg


HUMIR is supplied for pediatric use only in a caron containing two alcohol preps and two dose trays. Each
dose tray consists of a single-use, 1 mL pre-filled glass syrnge with a fixed 27 gauge Y2 inch needle, providing
20 mg (0.4 mL) of              HUM      IRA. The NDC number is 0074-9374-02.
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. Storage and Stabilty


                                      the container. HUMIRA m~st be refrigerated at 2° to 8° C (36° to
Do not use beyond the expiration date on


46° F). DO NOT FREEZE. Do not use if frozen even if it has been thawed. When traveling, HUMIRA should
be stored in a cool carrer with an ice pack. Protect the prefilled syringe from exposure to light. Store in
original carton until time of administration.

17 PATIENT COUNSELING INFORMATION

See FDA-approved patient labeling (Medication Guide).

Patients or their caregivers should be provided the HUMIR "Medication Guide" and provided an
opportunity to read it and ask questions prior to initiation of therapy. The healthcare provider should ask the
patient questions to determine any risk factors for treatment. Patients developing signs and symptoms of
infection should seek medical evaluation immediately.

17.1 Patient Counseling

Patients should be advised of the potential benefits and risks of HUMIRA. Physicians should instruct their
patients to read the Medication Guide before starting HUMIR therapy and to reread each time the
prescription is renewed.

. Infections
      Inform patients that HUMIR may lower the ability of their immune system to fight infections. Instruct
      patients of the importance of contacting their doctor if they develop any symptoms of infection, including
      tuberculosis, invasive fungal infections, and reactivation of                           hepatitis B virus infections.

. Malignancies
      Patients should be counseled about the risk of                               malignancies while receiving HUMIR.
. Allergic Reactions
      Patients should be advised to seek immediate medical attention if they                             experience any symptoms of severe
      allergic reactions. Advise latex-sensitive patients that the needle cap of                          the pre filled syrnge contains latex.

. Other Medical Conditions
      Advise patients to report any signs ofnew or worsening medical conditions such as congestive heart
      failure, neurological disease, autoimmune disorders, or cytopenias. Advise patients to report any
      symptoms suggestive of a cytopenia such as bruising, bleeding, or persistent fever.

17.2 Instruction on Injection Technique
The first injection should be performed under the supervision of a qualified health care professionaL. If a
patient or caregiver is to administer HUMIR, he/she should be instructed in injection techniques and their
ability to inject subcutaneously should be assessed to ensure the proper administration ofHUIR (see
Patient Instructions for Use).

The following instructions refer to the use of the HUMIR Pen:
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It is important to emphasize to the patient that he/she wil hear a loud 'click' when the plum-colored activator
button is pressed. The loud click means the start of     the injection. The patient must keep holding the HUMIR
Pen against the squeezed, raised skin until all of   the medicine is injected. This can take up to 10 seconds. The
patient will know that the injection.has finished when the yellow marker fully appears in the window view and
stops moving.

A puncture-resistant container for disposal of            needles and syringes should be used. Patients or caregivers
should be instructed in the technique as well as proper syringe and needle disposal, and be cautioned against
reuse of these items.


Content revised MM/YYYY

Abbott Laboratories

North Chicago, IL 60064, U.S.A.

                                                       MEDICATION GUIDE

                                                    HUMIRAQi (Hu-MARE-ah)

                                                             (adalimumab)

                                                                injection

Read the Medication Guide that comes with HUM                         IRA before you start taking it and each time you get a refill.
There may be new information. This               Medication Guide does not take the place of           talking with your doctor
about your medical condition or treatment.

What is the most important information I should know about HUMIRA?

HUMIR is a medicine that affects your immune system. HUMIR can lower the ability of your immune
system to fight infections. Serious infections have happened in people taking HUMIRA. These serious
infections include tuberculosis (TB) and infections caused by viruses, fungi or bacteria that have spread
throughout the body. Some people have died from these infections.

. Your doctor should test you for TB before starting HUMIR.

. Your doctor should check you closely for signs and symptoms ofTB during treatment with HUIRA.

You should not start taking HUMIR if you have any kind of infection unless your doctor says it is okay.

Before starting HUMIRA, tell your doctor if you:

. think you have an infection or have symptoms of infection such as:

      · fever, sweats, or chils                                           · warm, red, or painful skin or sores on your body
      · muscle aches                                                      · diarrhea or stomach pain
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                                                                           · burning when you urinate or urinate more often than
      · cough
                                                                           normal
      · shortness of         breath                                        · feel very tired
      · blood in phlegm
      · weight loss

. are being treated for an infection

. get a lot of infections or have infections that keep coming back


. have diabetes

. have TB, or have been in close contact with someone with TB

. were born in, lived in, or traveled to countries where there is more risk for getting TB. Ask your doctor if
      you are not sure.

. live or have lived in certain parts of                        the country (such as the Ohio and Mississippi River valleys) where
      there is an increased risk for getting certain kinds of fungal infections (histoplasmosis,
      coccidioidomycosis, or blastomycosis). These infections may happen or become more severe if                           you use
      HUMIR. Ask your doctor if you do not know if you have lived in an area where these infections are
      common.

. have or have had hepatitis B

. use the medicine ORENCIA lI (abatacept), KINRETII (anakinra), RITUXANII (rituximab), IMRA~
      (azathioprine), or PURINETHOL lI (mercaptopurine, 6-MP).
. are scheduled to have major surgery


After starting HUMIRA, call your doctor right away if                      you have an infection, or any sign of     an infection.

HUM      IRA can make you more likely to get infections or make any infection that you may have worse.

Cancer

. For children and adults taking TNF-blockers, including HUIR, the chances of getting cancer may
      increase.

. There have been cases of                     unusual cancers in children, teenagers, and young adults using TNF-blockers.

. People with RA, especially more serious RA, may have a higher chance for getting a kind of cancer called
      lymphoma.

. If you use TNF blockers including HUMIRA your chance of getting two types of skin cancer may
     increase (basal cell cancer and squamous cell cancer of the skin). These types of cancer are generally not
      life-threatening if          treated. Tell your doctor if   you have a bump or open sore that doesn't heaL.

. Some people receiving TNF blockers including HUMIR developed a rare type of cancer called
    hepatosplenic T-cell lymphoma. This type of cancer often results in death. Most of these people were male
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      teenagers or young men. Also, most people were being treated for Crohn's disease or ulcerative colitis
      with another medicine called IMURNtI(azathioprine) or PURINTHOL tI (6-mercaptopurine).

See the "What are the possible side effects of                                HUMIRA?" section.

What is HUMIRA?

HUMIR is a medicine called a Tumor Necrosis Factor (TNF) blocker. HUMIR is used to:

. Reduce the signs and symptoms of:

               . moderate to severe rheumatoid arthritis (RA) in adults. HUIR can be used alone, with
                     methotrexate, or with certain other medicines.

               . moderate to severe polyarticular juvenile idiopathic arthritis (JIA) in children 4 years and
                  older. HUM IRA can be used alone, with methotrexate, or with certain other medicines.

               . psoriatic arthritis (PsA) in adults. HUMIR can be used alone or with certain other medicines.

               . ankylosing spondylitis (AS) in adults.

               . moderate to severe Crohn's disease (CD) in adults when other treatments have not                       worked
                     well enough.

. Treat moderate to severe chronic (lasting a long time) plaque psoriasis (Ps) in adults who have the
      condition in many areas of their body and who may benefit from taking injections or pils (systemic
      therapy) or phototherapy (treatment using ultraviolet light alone or with pils).

What should I tell my doctor before taking HUMIRA?

HUMIR may not be right for you. Before starting HUIRA, tell your doctor about all of                            your health
conditions, including if              you:

. have an infection. See "What is the most important information I should know about HUMIRA?"
. have or have had cancer.

. have any numbness or tingling or have a disease that affects your nervous                         system such as multiple
      sclerosis or Guilain-Barré syndrome.
. have or had heart failure.

. have recently received or are scheduled to receive a vaccine. You may receive vaccines, except for live

      vaccines while using HUMIR. Children with juvenile idiopathic arhrtis should be brought up to date
      with all vaccines before starting HUMIR.
. are allergic to rubber or latex. The needle cover on the prefilled syringe contains dry natural rubber. Tell

      your doctor if you have any allergies to rubber or latex.

. are allergic to HUMIR or to any of its ingredients. See the end of this Medication Guide for a list of
    ingredients in HUMIR.
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. are pregnant or planning to become pregnant. It is not known if                                   HUM      IRA will harm your unborn baby.
      HUMIRA should only be used during a pregnancy if                             needed.
      Pregnancy Registry: Abbott Laboratories has a registry for pregnant women who take HUIRA' The
      purpose of this registry is to check the health of the pregnant mother and her child. Talk to your doctor if
      you are pregnant and contact the registry at 1-877-311-8972.
. breastfeeding or plan to breastfeed. You and your doctor should decide if you will breastfeed or use

      HUM      IRA. You should not do both.

Tell your doctor about all the medicines you take, including prescription and non-prescription medicines,

vitamins, and herbal supplements.

Especially tell your doctor if you use:

. ORENCIA QI (abatacept), KINERETQI (anakinra), REMICADEQI (infliximab), ENBREL QI (etanercept),
   CIMZIA QI (certolizumab pegol) or SIMPONIQI (golimumab), because you should not use HUIR while
   you are also taking one of these medicines.

. RITUXANQI (rituximab). Your doctor may not want to give you HUMIR if you have received
    RITUXANQI (rituximab) recently.

. IMURNQI (azathioprine) or PURINETHOL QI (mercaptopurine, 6-MP).

Keep a list of your medicines with you to show your doctor and pharmacist each time you get a new
medicine.

How     should I take HUMIRA?

. HUMIR is given by an inj ection under the skin. Your doctor wil tell you how often to take an injection
   of HUM IRA. This is based on your condition to be treated. Do not inject HUMIRA more often than
      you were prescribed.

. See the Patient Instructions for Use inside the carton for complete instructions for the right way to

      prepare and inject HUMIRA.

. Make sure you have been shown                              how to inject HUMIR before you do it yourself. You can call your
      doctor or 1-800-4HUMIRA (1-800-448-6472) if                            you have any questions about giving yourself           an
      injection. Someone you know can                         also help you with your injection after he/she has been shown how to
      prepare and inject HUMIRA.

. Do not try to inject HUM                     IR yourself          until you have been shown the right way to give the injections. If
      your doctor decides that you or a caregiver may be able to give your injectionsofHUIR at home, you
      should receive training on the right way to prepare and inj ect HUIR.
. Do not miss any doses of HUMIR unless your doctor says it is okay. If you forget to take HUMIRA,
   inject a dose as soon as you remember. Then, take your next dose at your regular scheduled time. This wil
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      put you back on sctledule. In case you are not sure when to inject HUIR, call your doctor or
      pharmacist.

. If you take more HUM                     IRA than you were told to take, call your doctor.

What are         the possible side effects of         HUMIRA?

HUMIR can cause serious side effects, including:

See "What is the most important information I should know about HUMIRA?"

. Serious Infections.


      Y our doctor will examine you for TB and perform a test to see if you have TB. If your doctor feels that
      you are at risk for TB, you may be treated with medicine for TB before you begin treatment with
      HUMIR and during treatment with HUMIR' Even if your TB test is negative your doctor should
      carefully monitor you for TB infections while you are taking HUMIR' People who had a negative TB
      skin test before receiving HUMIR have developed active TB. Tell your doctor if     you have any of  the
      following symptoms while taking or after taking HUMIR:

                . cough that does not go away

                . low grade fever

                . weight loss

                . loss of        body fat andmusc1e (wasting)

. Hepatitis B infection in people who carry the virus in their blood.


      If                     the hepatitis B virus (a virus that affects the liver), the virus can become active while
           you are a carrer of


      you use HUM    IRA  , Your doctor may do blood tests before you start treatment with HUIR and while
      you are using HUMIRA. Tell your doctor if you have any of the following symptoms of a possible
      hepatitis B infection:



      · muscle aches                                                         · clay-colored bowel movements
      · feel very tired                                                      · fever

      · dark urine                                                           · chils

      · skin or eyes look yellow                                             · stomach discomfort
      · little or no appetite                                                · skin rash

      · vomiting

. Allergic reactions. Allergic reactions can happen in people who use HUMIRA. Call your doctor or get

      medical help right away if you have any of these symptoms of a serious allergic reaction:
                . hives
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               . swelling of your face, eyes, lips or mouth

               . trouble breathing

. Nervous system problems. Signs and symptoms of a nervous system problem include: numbness or
     tingling, problems with your vision, weakness in your arms or legs, and dizziness.
. Blood problems. Your body may not make enough of the blood cells that help fight infections or help to
    stop bleeding. Symptoms include a fever that does not go away, bruising or bleeding very easily, or
    looking very pale.

. New heart failure or worsening of heart                                 failure you already have. Call your doctor right away if                     you
      get new worsening symptoms of                       heart failure while taking HUMIRA, including:

               . shortness of               breath
               . swelling of your ankles or feet

               . sudden weight gain.

. Immune reactions including a lupus-like syndrome. Symptoms include chest discomfort or pain that
                                breath, joint pain, or a rash on your cheeks or arms that gets worse in the
     does not go away, shortness of


      sun. Symptoms may improve when you stop HUMIR.
. Liver Problems. Liver problems can happen in people who use TNF-blocker medicines. These problems
     can lead to liver          failure and death. Call your doctor right away if                            you have any of         these symptoms:

               . feel very tired

               . skin or eyes look yellow

               . poor appetite or vomiting

               . pain on the right side of                 your stomach (abdomen)

. Psoriasis. Some people using HUMIR had new psoriasis or worsening of psoriasis they already had.
    Tell your doctor if you develop red scaly patches or raised bumps that are filled with pus. Your doctor
    may decide to stop your treatment with HUIRA.

Call your doctor or get medical care right away if you develop any of the above symptoms. Your
treatment with HUMIRA may be stopped.

Common side effects with HUMIRA include:

. injection site reactions: redness, rash, swellng, itching, or bruising. These symptoms usually wil go away
    within a few days. Call your doctor right away if  you have pain, redness or swelling around the injection
     site that does not go away within a few days or gets worse.
. upper respiratory infections (including sinus infections)

. headaches
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. rash

. nausea

These are not all the possible side effects with HUMIR. Tell your doctor if you have any side effect that
bothers you or that does not go away. Ask your doctor or pharmacist for more information.

Call your doctor for medical advice about side effects. You may report side effects to the FDA at 1-800-FDA­
1088.

How should I store HUMIRA?

. Store HUMIR in a refrigerator at 36°F to 46°F (2°C to 8°C) in the original container until it is used.
    Protect from light.

. When traveling, HUMIRA should be stored in a cool carrier with an ice pack.
. Do not freeze HUMIRA. Do not use HUMIRA if frozen, even if it has been thawed.
. Refrigerated HUMIRA may be used until the expiration date printed on the HUMIR caron, dose tray,
   Pen or prefilled syringe.

. Do not use a Pen or prefilled syringe if the liquid is cloudy, discolored, or has flakes or particles in it.

. Do not drop or crush HUMIR. The prefilled syrnge is glass.

. Keep HUMIRA, injection supplies, and all other medicines out of the reach of children.

General information about HUMIRA

Medicines are sometimes prescribed for purposes other than those listed in a Medication Guide. Do not use
HUMIR for a condition for which it was not prescribed. Do not give HUMIR to other people, even if      they
have the same condition. It may harm them.

This Medication Guide summarizes the most important information about HUMIR. If             you would like more
information, talk with your doctor. You can ask your doctor or pharmacist for information about HUMIR
that was written for healthcare professionals.

For more information go to ww,HUMIRA.com or you can enroll in a patient support program by calling 1­
800-4HUMIRA (1-800-448-6472).

What are the ingredients in HUMIRA?

Active ingredient: adalimumab

Inactive ingredients: sodium chloride, monobasic sodium phosphate dihydrate, dibasic sodium phosphate

dihydrate, sodium citrate, citric acid monohydrate, mannitol, polysorbate 80, and Water for Injection. Sodium
hydroxide is added as necessary to adjust pH.
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Abbott Laboratories

North Chicago, IL 60064, U.S.A.

This Medication Guide has been approved by the U.S. Food and Drug Administration.

                                                         PATIENT INSTRUCTIONS                                FOR       USE

                                                                     HUMIRA (j (Hu-MARE-ah)

                                                                                 (adalimumab)

                                                                             SINGLE-USE PEN

Do not try to inject HUMIR yourself                                 until you have been shown the right way to give the injections. If                        your
doctor decides that you or a caregiver may be able to give your injections of                                                  HUM       IRA at home, you should
receive training on the right way to prepare and inject HUMIR. It is important that you read, understand, and
follow these instructions so that you inject HUMIRA the right way. Call your healthcare provider if                                                      you or
your caregiver has any questions about the right way to inject HUMIR.

IMPORTANT:

. Do not use HUM                    IRA if frozen, even if it has been thawed.

. The HUM                IRA Pen contains glass. Do not drop or crush the Pen because the glass inside may break.

. Do not remove the gray cap or the plum-colored cap until right before your injection.

. When the plum-colored button on the HUMIR Pen is pressed to give your dose of                                                               HUM   IR, you wil
      hear a loud "click" sound.
               . You must practice injecting HUM                                 IRA with your doctor or nurse so that you are not startled by
                        this click when you start giving yourself                     the injections at home.
                . The loud click sound means the start of                                 the injection.


                . You wil know that the injection has finished when the yellow marker appears fully in the
                   window view and stops moving.

See the section below called "Prepare the HUMIRA Pen".

How should I store HUMIRA?

. Store HUMIR in a refrigerator at 36°F to 46°F (2°C to 8°C) in the original container until it is used.
    Protect from light.

. When traveling, HUM                       IRA should be stored in a cool carrier with an ice pack.
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. Do not freeze HUMIRA. Do not use HUMIRA if frozen, even if it has been thawed.
. Refrigerated HUM                  IRA may be used until the expiration date printed on the HUIRA caron, dose tray,
      and Pen.

. Do not use a Pen if                the liquid is cloudy, discolored, or has flakes or particles in it.

. Do not drop or crush HUMIR.
. Keep HUMIRA, injection supplies, and all other medicines                           out ofthe reach of children.

Gather the Supplies for Your Injection

. You wil need the following supplies for your injection of                    HUM    IRA.
     Find a clean, flat surface to place the supplies on.

               . 1 alcohol swab

               . 1 cotton ball or gauze pad (not included in your HUMIR carton)

               . 1 HUMIR Pen (See Figure A)
               . 1 puncture-proof sharps container for HUM               IRA Pen disposal (not included in your HUMIR
                        carton)

If you do not have all of the supplies you need to give yourself an inj ection, go to a pharacy or call your
pharmacist. The diagram below shows what the HUMIR Pen looks like. See Fig~re A.

                                                                  Figure A
                   Case 2:18-cv-09253-JCZ-JVM Document 37-3 Filed 05/13/20 Page 45 of 70




                                             Plum-colored Cap (Cap #2)


                                             Plum-colored Activator Sutton




                                             Window



                                                                           White Needle Sleeve



                                                                             ¡Gray Cap (Cap #1)




Check the carton, dose tray, and HUMIRA Pen.

1. Make sure the name HUMIR appears on the carton, dose tray, and HUIR Pen labeL.

2. Do not use and call your doctor or pharmacist if:

. you drop or crush your HUMIR Pen.
. the seals on the top or bottom of the carton are broken or missing.

. the expiration date on the carton, dose tray, and Pen has passed.

. the HUMIRA Pen has been frozen or left in direct sunlight. See the section: "How should I store
    HUMIRA?" at the beginning of these Instructions For Use.

3, Hold the Pen with the gray cap (Cap # 1) pointed down.

4. Make sure the amount of liquid in the Pen is at the fill line or close to the fill line seen through the window.
This is the full dose of             HUM      IR that you wil inject. SeeFigure B.

5. If   the Pen does not have the full amount of             liquid, do not use that Pen. Call your pharmacist.

                                                                  Figure B
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6, Tum the Pen over and hold the Pen with the gray cap (Cap # 1) pointed up. See Figure C.

7. Check the solution through the windows on the side of    the Pen to make sure the liquid is clear and colorless.
Do not use your HUMIRA Pen if      the liquid is cloudy, discolored, or ifit has flakes or particles in it. Call your
pharmacist. It is normal to see one or more bubbles in the window.

                                                           Figure C
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Choose the Injection Site

8. Wash and dry your hands well.

9. Choose an injection site on:

. the front of your thighs or

. your lower abdomen (belly). If you choose your abdomen, do not use the area 2 inches around your belly
                                                                                                   ,

    button (navel). See Figure D.

                                                  Figure D
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                                                                   Injiectable
                                                                   Areas




. Choose a different site each time you give yourself an injection. Each new injection should be given at
   least one inch from a site you used before.
. Do not inject HUMIRA into skin that is:
          . sore (tender)

          . bruised

         . red

         . hard

         . scarred or where you have stretch marks

. If you have psoriasis, do not inject directly into any raised, thick, red or scaly skin patches or lesions on

   your skin.

. Do not inject through your clothes.


Prepare the Injection Site

10. Wipe the injection site with an alcohol prep (swab) using a circular motion.

. Do not touch this area again before giving the injection. Allow the skin to dry before injecting. Do not fan
    or blow on the clean area.

Preparing the HUMIRA Pen
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11. Do not remove the gray cap (Cap # 1) or the plum-colored cap (Cap # 2) unti right before your
injection.

12. Hold the middle of the Pen (gray body) with one hand so that you are not touching the gray cap (Cap # 1)
or the plum-colored cap (Cap # 2). Tum the Pen so that the gray cap (Cap # 1) is pointing up. See Figure E.

                                                                     Figure E




13. With your other hand, pull the gray cap (Cap # 1) straight off          (do not twist the cap). Make sure the small
gray needle cover of             the syringe has come offwiththe gray cap (Cap # 1). See Figure F.

14. Throwaway the gray cap (Cap # 1).

                                                                     Figure F
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. Do not put the gray cap (Cap # 1) back on the Pen. Putting the gray cap (Cap # 1) back on may damage

     the needle.

. The white        needle sleeve, which covers the   needle, can now be seen.

. Do not touch the needle with your fingers or let the needle touch anything.

. You may see a few drops of liquid come out of the needle. This is normaL.

15. Remove the plum-colored cap (Cap # 2) from the bottom of the Pen by pullng it straight off (do not twist
the cap). The Pen is now activated. Throwaway the plum-colored cap.

. Do not put the plum-colored cap (Cap # 2) back on the Pen because it could cause medicine to come out

     of   the syringe.


The plum-colored activator button:

. Tum the Pen so the plum-colored activator button is pointed up. See Figure G.

                                                        Figure G
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. Do not press the plum-colored activator button until you are ready to inject HUMIR. Pressing the plum-
   colored activator button wil release the medicine from the Pen.
. Hold the Pen so that you can see the window. See Figure H. It is normal to see one or more bubbles in the

   window,

                                                 Figure H
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Position the Pen and Inject HUMIRA

16. Position the Pen:

. Gently squeeze the area of    the cleaned skin and hold it firmly. See Figure 1. You will inject into this raised
      area of skin.

                                                     Figure I
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17. Place the white end of                                                                       your skin that you
                              the Pen straight (at a 900 angle) and flat against the raised area of


are squeezing. Place the Pen so that it will not inject the needle into your fingers that are holding the raised
skin. See Figure J.

                                                                     Figure J
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18. Inject HUMIRA

. With your index finger or your thumb, press the plum-colored activator button to begin the injection. Try
   not to cover the window. See Figure K.

                                                   Figure K
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                                                                       ((click))


. You will hear a loud 'click' when you press the plum-colored activator button. The loud click means the
     start of     the injection.


. Keep pressing the plum-colored activator button and continue to hold the Pen against                 your squeezed,

     raised skin until all of            the medicine is injected. This can take up to 10 seconds, so count slowly to ten.
     Keep holding the Pen against the squeezed, raised skin of                your injection site for the whole time so you get
      the full dose of medicine.

. You will know that the injection has finished when the yellow marker fully appears in the window view
   and stops moving. See Figure L.

                                                                                 Figure L
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                                                        Yellow Indicator


19. When the injection is finished, slowly pull the Pen from your skin. The white needle sleeve wil move to
cover the needle tip. See FigureM.

. Do not touch the needle. The white needle sleeve is there to prevent you from touching the needle.


                                                    Figure M
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                                                             White INeedle
                                                             Sleeve




                                                    Yellow Window Marker



. Press a cotton ball or gauze pad over the injection site and hold it for 10 seconds. Do not rub the injection

      site. You may have slight bleeding. This is normaL.

20. Dispose of your used HUMIR Pen. See the section "How should I dispose of the used HUMIRA
Pen?"

21. Keep a record of             the dates and location of      your injection sites. To help you remember when to take
HUMIRA, you can mark your calendar ahead of                       time.

How should I dispose of                  the used HUMIRA Pen?

. Do not throw the Pen in the household trash. Do not recycle.

. Do not try to touch the needle. The white needle sleeve is there to prevent you from touching the needle.


. Place the used HUMIR Pen in a puncture-proof sharps container right away. You may use a sharps
    container (such as a red biohazard container), a hard plastic container (such as a detergent bottle), or a
    metal container (such as an empty coffee can). Do not use glass or clear plastic containers. See Figure N.


                                                                      Figure N
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. You should follow any special state or local laws regarding the disposal of needles and syrnges.
. For the safety and health of you and others, never re-use your HUMIR Pens.

. Always keep the sharps container out of the reach of children.
. The used alcohol pads, cotton balls, dose trays and packaging may be placed in your household trash.

. When the sharps container is about two-thirds full, tape the cap or lid down so it does not come off and
   dispose of it as instructed by your doctor, nurse, or pharmacist. Do not throw the container in the
   household trash. Do not recycle.




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                                  PATIENT INSTRUCTIONS FOR USE

                                        HUMIRA (i (Hu-MARE-ah)
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                                                                            (adalimumab)

                                                       SINGLE-USE PRE                     FILLED SYRINGE

Do not try to inject HUMIR yourself                                                                     your
                                                               until you have been shown the right way to give the injections. If


doctor decides that you or a caregiver may be able to give your injections of HUM IRA at home, you should
receive training on the right way to prepare and inject HUMIR. It is important that you read, understand, and
follow these instructions so that you inject HUMIRA the right way. Call your healthcare provider if                                                       you or
your caregiver has any questions about the right way to inject HUMIRA.

How should I store HUMIRA?

. Store HUMIR in a refrigerator at 36°F to 46°F (2°C to 8°C) in the original container until it is used.
      Protect from light.

. When traveling, HUMIRA should be stored in a cool carrier with an ice pack.
. Do not freeze HUMIRA. Do not use HUIRA if frozen, even if it has been thawed.
. Refrigerated HUM                    IRA may be used until the expiration date printed on the HUMIRA carton, dose tray
      and prefilled syringe.

. Do not use a prefilled syringe if                       the liquid is cloudy, discolored, or has flakes                           or particles in it.

. Do not drop or crush HUMIR. The prefilled syringe is glass.
. Keep HUMIRA, injection supplies, and all other medicines out of the reach of children.

Gather the Supplies for Your Injection

. You will need the following supplies for your injection of                                          HUM    IRA.
      Find a clean, flat surface to place the supplies on.

               . 1 alcohol swab

               . 1 cotton ball or gauze pad (not included in your HUMIR carton)

               . 1 HUMIR prefilled syringe (See Figure A)
               . 1 puncture-proof sharps container for HUIRA prefilled syringe disposal (not included in your
                   HUM  IRA carton)

If you do not have all of              the supplies you need to give yourself an injection, go to a pharmacy or call your
pharmacist.

The diagram below shows what a pre                          filled syrnge looks like. See Figure A.

                                                                                 Figure      A
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                                                       .
                                                              Finger     Grip




                                               ... Needle Cover




Check the carton, dose tray, and prefiled syringe

1. Make sure the name HUMIR appears on the dose tray and prefilled syrnge labeL.

2. Do not use and call your doctor or pharmacist if:

. the seals on top and bottom of the carton are broken or missing.

. the HUMIRA labeling has an expired date. Check the expiration date on your HUIR carton and do not
    use if the date has passed.

. the prefilled syringe that has been frozen or left in direct sunlight. See the section: "How should I store
    HUMIRA?" at the beginning of      these Instructions for Use.

. the liquid in the prefilled syringe is cloudy, discolored or has flakes or particles in it. Make sure the liquid

    is clear and colorless.

Choose the Injection Site

3. Wash and dry your hands welL.

4. Choose an injection site on:

. the front of your thighs or
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. your lower abdomen (belly). If       you choose your abdomen, do not use the area 2 inches around your belly
       button (navel). See Figure B.

                                                         Figure B




                                                                       InJectable
                                                                       A.reas




. Choose a different site each time you give yourself an injection. Each new injection should be given at
       least one inch from a site you used before.

. Do not inject into skin that is:
               . sore (tender)

               . bruised

               . red

               . hard

               . scarred or where you have stretch marks

. If     you have psoriasis, do not inject directly into any raised, thick, red or scaly skin patches or lesions on
       your skin.

. Do not inj ect through your clothes.


Prepare the Injection Site

5. Wipe the injection site with an alcohol prep (swab) using a circular motion.
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6. Do not touch this area again before giving the injection. Allow the skin to dry before injecting. Do not fan
or blow on the clean area.

Prepare the Syringe and Needle

7. Check the fluid level in the syrnge:

. Always hold the prefil1ed syringe by the body of      the syringe. Hold the syringe with the covered needle
     pointing down. See Figure C.

                                                        Figure C




. Hold the syringe at eye leveL. Look closely to make sure that the amount ofliquid in the syringe is the

      same or close to the:
               . 0.8 mL line for the 40 mg prefilled syrnge

               . 0.4 mL line for the 20 mg pediatric prefil1ed syrnge. See Figure D.


                                                      Figure D
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                                                0.8 mL                 0.4 mt
                                                Prefiled            Pediatric
                                                Syringe              PrefiUed
                                                                     Syringe



8. The top of    the liquid may be curved. If     the syringe does not have the correct amount ofliquid, do not use
that syringe. Call your pharmacist.


9. Remove the needle cover:

. Hold the syringe in one hand. With the other hand gently remove the needle cover. See Figure E.

. Throwaway the needle cover.

                                                            Figure E
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. Do not touch the needle with your fingers or let the needle touch anything.


10. Tum the syringe so the needle is facing up and hold the syringe at eye level with one hand so you can see
the air in the syringe. Using your other hand, slowly push the plunger in to push the air out through the needle.
See Figure F.

                                                    Figure F
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. You may see a drop of liquid at the end of the needle. This is normaL.

Position the Prefiled Syringe and Inject HUMIRA

Position the Syringe

11. Hold the body of  the prefilled syringe in one hand between the thumb and index fingers. Hold the syringe
in your hand like a penciL. See Figure G.

                                                  Figure G
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                                                     t /'
                                                 ///J ",j""




. Do not pull back on the plunger at any time.

. With your other hand, gently squeeze the area of              the cleaned skin and hold it firmly. See Figure H.

                                                              Figure H




                                                                                                                     I



                                                                                                                     i
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Inject HUMIRA

12. Using a quick, dart-like motion, insert the needle into the squeezed skin at about a    45-degree angle. See
Figure 1.

                                                                                 Figure I
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. After the needle is in, let go of   the skin. Pull back gently on the plunger.

If blood appears in the syringe:

. It means that you have entered a blood vesseL.

. Do not inject HUMIRA.
. Pull the needle out of the skin while keeping the syringe at the same angle.


. Press a cotton ball or gauze pad over the injection site and hold it for 10 seconds. See Figure J.


                                                        Figure J
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. Do not use the same syringe and needle again. Throwaway the needle and syrnge in your special sharps

      container.

. Do not rub the injection site. You may have slight bleeding. This is normaL.

. Repeat Steps 1 through 12 with a new prefilled syrnge.


If no blood appears in the syringe:

. Slowly push the plunger all the way in until all of                the liquid is injected and the syringe is empty.

. Pull the needle out of                 the skin while keeping the syringe at the same angle.

. Press a cotton ball or gauze pad over the injection site and hold it for 10 seconds. Do not rub the injection

      site. You may have slight bleeding. This is normaL.

13. Throwaway the used prefilled syringe and needle. See "How should I dispose of used prefiled syringes
and needles?"


                                         your injection sites. To help you remember when to take
14. Keep a record ofthe dates and location of
                                                                                                                        I'

HUMIRA, you can mark your calendar ahead of time.

How should I dispose of used prefiled syringes and needles?

. Do not throw the needle, or syringe, in the household trash. Do not recycle.
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. Do not try to touch the needle.

. Place the used prefilled syringe and needle in a special puncture-proof sharps container. You may use a

     sharps container (such as a red biohazard container), a hard plastic container(such as a detergent bottle),
     or a metal container (such as an empty coffee can). Do not use glass or clear plastic containers. See Figure
     K.

                                                                                  Figure K




. You should follow any special state or local laws regarding the disposal of needles and syrnges.
. For the safety and health of                    you and others, needles and used syringes must never be re-used.

. Always keep the sharps container out of the reach of children.
. The used alcohol pads, cotton balls, dose trays and packaging may be placed in your household trash.

. When the sharps container is about two-thirds full, tape the cap or lid down so it does not come off and
      dispose of it as instructed by your doctor, nurse or pharmacist. Do not throw the container in the
      household trash. Do not recycle.

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